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Case 8:21-cv-01736-TDC Document 8 Filed 07/14/21 Page 1 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., et al., | Case No.: 485899-V

Plaintiffs,

vs PLAINTIFFS’ EMERGENCY MOTION
, FOR PARTIAL SUMMARY JUDGMENT

MONTGOMERY COUN L
TGO COUNTY, MARYLAND, | 5. peprrED HEARING REQUESTED

Defendant.

Pursuant to MD Rule 2-311, MD Rule 2-501 and MD Rule 2-602, plaintiffs respectfully
move this Court for an order granting partial summary judgment on Counts I, II, and IV of the
Verified Complaint and enter declaratory and injunctive relief on those Counts on the merits. On
these three Counts, there is no genuine dispute as to any material fact and plaintiffs are entitled tq
judgment as a matter of law. This motion is supported by the declarations of each of the plaintiffs
filed with the Verified Complaint, the supplemental declarations of each of the plaintiffs attachec
to this Motion and a short excerpt of a pleading filed by the Department of Justice State oj
California v. BATF, No. 20-cv-6761 (N.D. Cal.). Plaintiffs request that the Court take judicia
notice of that federal litigation. See Supporting Memorandum at note 2.

Pursuant to MD Code, Courts and Judicial Proceedings, § 3-409(e), plaintiffs respectfully,
request “a speedy hearing” on the motion and that the Court “advance it on the calendar” to be
heard and decided as soon as possible, preferably prior to July 16, 2021, the effective date of the
County ordinance, Bill 4-21, challenged in this case. Partial summary judgment is appropriatd
because Bill 4-21: (1) is not a local law within the meaning of Article XI-E, § 3 of the Maryland
Constitution, as alleged in Count I of the Complaint and is thus ultra vires; (2) violates the Express

Powers Act, MD Code, Local Government, §10-206, in that it is inconsistent with and/ot

PLAINTIFFS’ EMERGENCY MOTION FOR PARTIAL SUMMARY i J)GM =
EXPEDITED HEARING REQUESTED - | =H i

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Gentgomery County, Md.

   

 
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preempted by Maryland general law, as alleged in Count II; and (3) is so vague that it violates the
Due Process Clause of the Fourteenth Amendment and Article 24 of the Maryland Declaration of
Rights, as alleged in Count IV. Plaintiffs, at this time, do not seek summary judgment on the
Takings claim set forth in Count III. There are no disputed issues of fact concerning Counts I, I]
and IV and plaintiffs are entitled to the requested relief as a matter of law. Plaintiffs respectfully
suggest that the Court apply MD Rule 2-602 and hold that there is no just reason for delay and
enter final judgment granting declaratory and equitable relief on Counts I and II and final judgment
as to liability on Count IV.
CONCLUSION

For the foregoing reasons and for the reasons set forth in the accompanying supporting
memorandum of law, the motion for partial summary judgment should be granted. Plaintiffs
respectfully request an emergency hearing and a decision on this motion prior to July 16, 2021

the effective date of Bill 4-21, or as soon thereafter as possible.

Respectfully submitted,

MARK W. PENNAK
Maryland Shall Issue, Inc.
9613 Harford Rd
Ste C #1015
Baltimore, MD 21234-21502
mpennak@marylandshallissue.org
Phone: (301) 873-3671
MD Atty No. 1905150005

Counsel for Plaintiffs

Dated: June 16, 2021

PLAINTIFFS’ EMERGENCY MOTION FOR PARTIAL SUMMARY JUDGMENT
EXPEDITED HEARING REQUESTED - 2

 
Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 3 of 77

EXHIBITS
1. Supplemental Declaration of Daniel Carlin Weber
. Supplemental Declaration of Plaintiff Andrew Raymond
. Supplemental Declaration of Plaintiff Carlos Rabanales

. Supplemental Declaration of Plaintiff Brandon Ferrell

. Supplemental Declaration of Plaintiff Ronald David

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5. Supplemental Declaration of Plaintiff Joshua Edgar
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7. Supplemental Declaration of Plaintiff Nancy David
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. Excerpts from Federal Defendants’ Notice Of Motion And Motion To Dismiss Plaintiffs’
Complaint For Declaratory And Injunctive Relief, filed in State of California v. BATF, No. 20-cv-
6761 (N.D. Cal.) (Nov. 30, 2020).
 

 

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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 4 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL, Case No.: 485899-V
Plaintiffs,

vs. SUPPLEMENTAL DECLARATION OF
DANIEL CARLIN-WEBER

MONTGOMERY COUNTY, MARYLAND,

Defendant.

 

 

 

COMES NOW, the declarant, DANIEL CARLIN-WEBER, and hereby solemnly declares under
penalties of perjury and upon personal knowledge that the contents of the following declaration are true:

1. My name is DANIEL CARLIN-WEBER and I am the Chairman of the Board of Directors of
MARYLAND SHALL ISSUE, INC., a named plaintiff in the above captioned matter. I execute this declaration on
behalf of MARYLAND SHALL ISSUE, INC. I am an adult over the age of 18, a Maryland resident and I am fully
competent to give swom testimony in this matter.

2. [have read and otherwise reviewed the allegations of the Complaint in this matter. I hereby
adopt and declare that the factual allegations in the complaint that relate or refer to MARYLAND SHALL ISSUE,
INC., are true.

Dated this day of JUNE 13, 2021:

 

DATEL CARLIN-WEBER
Chairman of the Board of Directors, Maryland Shall
Issue, Inc.

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Clerk of the Circuit Court

Montgomery County, M
SUPPLEMENTAL DECLARATION OF DANIEL CARLIN-WEBER - |

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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 5 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL, Case No.: 485899-V
Plaintiffs,

VS, SUPPLEMENTAL DECLARATION OF
PLAINTIFF ANDREW RAYMOND

MONTGOMERY COUNTY, MARYLAND,

Defendant

 

COMES NOW, the declarant, ANDREW RAYMOND, and hereby solemnly declares under
penalties of perjury and upon personal knowledge that the contents of the following declaration are true:

1. My name is ANDREW RAYMOND and I am a named plaintiff in the above captioned matter
and the co-owner of ENGAGE ARMAMENT LLC, which is also a named plaintiff in this matter, [ execute this
declaration on behalf of myself and of ENGAGE ARMAMENT LLC. I am an adult over the age of 18, a Maryland

resident and I am fully competent to give sworn testimony in this matter.

2. IT have read and otherwise reviewed the allegations of the Complaint in this matter. I solemnly

affirm under the penalties of perjury that the contents of the complaint that relate or refer to myself and ENGAGE

ARMAMENT LLC, are true.

Dated this day of JUNE 13, 2021: SsCr
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ANDREW RAYMOND

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SUPPLEMENTAL DECLARATION OF PLAINTIFF ANDREW RAYMOND. 1. Montgomery County, M

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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 6 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL, Case No.:

Plaintiffs,

SUPPLEMENTAL DECLARATION OF

vs.
PLAINTIFF CARLOS RABANALES

MONTGOMERY COUNTY, MARYLAND,

Defendant

COMES NOW, the declarant, CARLOS RABANALES, and hereby solemnly declares under
penalties of perjury and upon personal knowledge that the contents of the following declaration are true:

1. My name is CARLOS RABANALES and | am a named plaintiff in the above captioned matter
and the co-owner of ENGAGE ARMAMENT LLC, which is also a named plaintiff in this matter. . fam an adult
over the age of 18, a Maryland resident and | am fully competent to give sworn testimony in this matter. [ execute

this declaration on behalf of myself and of ENGAGE ARMAMENT LLC.

2. [have read and otherwise reviewed the allegations of the Complaint in this matter. I solemnly
affirm under the penalties of perjury that the contents of the complaint that relate ar refer to myself and ENGAGE

ARMAMENT LLC, are true..

 

Dated this day of JUNE 13, 2021:

 

 

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CARLOS RABANALES

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SUPPLEMENTAL DECLARATION OF PLAINTIFF CARLOS RABANALES - |

 
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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 7 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL, Case No.: 485899-V

Plaintiffs,

SUPPLEMENTAL DECLARATION OF

vs.
PLAINTIFF BRANDON FERRELL

MONTGOMERY COUNTY, MARYLAND,

Defendant

COMES NOW, the declarant, BRANDON FERRELL, and hereby solemnly declares under
penalties of perjury and upon personal knowledge that the contents of the following declaration are true:

I. My name is BRANDON FERRELL and I am a named plaintiff in the above captioned matter. I
am an adult over the age of 18, a Maryland resident and I am fully competent to give sworn testimony in this matter.

2, Ihave read and otherwise reviewed the allegations of the Complaint in this matter. I solemnly

affirm under the penalties of perjury that the contents of the complaint that relate or refer to myself are true.

LA GOCE

BRANDON FERRELL

Dated this day of JUNE 13, 2021:

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Clerk of the Circuit Court
Montgomery County, Md.

SUPPLEMENTAL DECLARATION OF PLAINTIFF BRANDON FERRELL - |

 
 

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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 8 of 77

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IN CIRCUIT COURT FOR MONTGOMERY COUNTY,
MARYLAND

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| MARYLAND SHALL ISSUE, .INC., ET AL,| Case No.: 485899-V
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; Plaintiffs,
Vs,
; MONTGOMERY COUNTY, MARYLAND,
i
: Defendant

f

SUPPLEMENTAL DECLARATION OF
PLAINTIFF DERYCK WEAVER

 

‘ COMES NOW, the declarant, DERYCK WEAVER, and hereby
isolemnly declares under penalties of perjury and upon personal
‘knowledge that the contents of the following declaration are
‘true:

1. My name is DERYCK WEAVER and I am a named plaintiff
iin the above captioned matter. I am an adult over the age of 18, a
: Maryland resident and I am fully competent to give sworn
‘testimony in this matter.

2. [have read and otherwise reviewed the allegations of the
‘Complaint in this matter. I solemnly affirm under the penalties
_ of perjury that the contents of the complaint that relate or refer
‘to myself are true.

Dated this day of JUNE 13, 2021: Z

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», SUPPLEMENTAL DECLARATION OF PLAINTIFF DERYCK:
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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 9 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY,
MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL. Case No,: 485899-V

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MONTGOMERY COUNTY. MARYLAND, | SUPPLEMENTAL DECLARATION OF

PLAINTIFF JOSHUA EDGAR

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Defendant

 

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COMES NOW, the declarant, JOSHUA EDGAR, and hereby
solemnly declares under penalties of perjury and upon personal
knowledge that the contents of the following declaration are

}j true:

11. My name is JOSHUA EDGAR and I am a named plaintiff in
the above captioned matter. I am an adult over the age of 18, a
Maryland resident and I am fully competent to give sworn
testimony in this matter.

2. [have read and otherwise reviewed the allegations of the
Complaint in this matter. I solemnly affirm under the penalties
of perjury that the contents of the complaint that relate or refer

to myself are true.
is day of JUNE 13, 2021:

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| SUPPLEMENTAL DECLARATION OF PLAINTIFF JOSHUA

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Clerk of the Circuit Court
Montgomery County, Md.

 

 

 

 

 
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IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL, Case No.: 485899-V
Plaintiffs,
vs. SUPPLEMENTAL DECLARATION OF
PLAINTIFF RONALD DAVID

MONTGOMERY COUNTY, MARYLAND,

Defendant

 

COMES NOW, the declarant, RONALD DAVID, and hereby solemnly declares under penalties
of perjury and upon personal knowledge that the contents of the following declaration are true:

1. My name is RONALD DAVID and J am a named plaintiff in the above captioned matter, and
the owner of IL.C.E. FIREARMS & DEFENSIVE TRAINING, LLC, which is also a named plaintiff in this matter. |
execute this declaration on behalf of myself and on behalf of 1.C.E. FIREARMS & DEFENSIVE TRAINING, LLC.
[am an adult over the age of 18, a Maryland resident and I am fully competent to give sworn testimony in this
matter.

2. [have read and otherwise reviewed the allegations of the Complaint in this matter. I solemnly
affirm under the penalties of perjury that the contents of the complaint that relate or refer to myself and to I-C.E.

FIREARMS & DEFENSIVE TRAINING, LLC, are true.

Dated this day of JUNE 13, 2021: i
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RONALD DAVID

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Montgomery County,

SUPPLEMENTAL DECLARATION OF PLAINTIFF RONALD DAVID - 1

 

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Case 8:21-cv-01736-TDC Document 8 Filed 07/12/21 Page 11 of 77

IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., ET AL, Case No.: 485899-V
Plaintiffs,

VS. SUPPLEMENTAL DECLARATION OF
PLAINTIFF NANCY DAVID
MONTGOMERY COUNTY, MARYLAND,

Defendant

 

COMES NOW, the declarant, NANCY DAVID, and hereby solemnly declares under penalties of
perjury and upon personal knowledge that the contents of the following declaration are true:

1. My name is NANCY DAVID and I am a named plaintiff in the above captioned matter. | am an
adult over the age of 18, a Maryland resident and | am fully competent to give swom testimony in this matter.

2. | have read and otherwise reviewed the allegations of the Complaint in this matter. I solemnly

affirm under the penalties of perjury that the contents of the complaint that relate or refer to myself are true.

Dated this day of JUNE 13, 2021:

NANCY DAVID

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Clerk of the Circuit Court
Montgomery County, Md.

SUPPLEMENTAL DECLARATION OF PLAINTIFF NANCY DAVID - |

 

 
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JEFFREY BOSSERT CLARK
Acting Assistant Attorney General

LESLEY FARBY
Assistant Branch Director

ERIC J. SOSKIN (PA Bar # 200663)
Senior Trial Counsel

United States Department of Justice
Civil Division

Federal Programs Branch

1100 L Street NW, Room 12002
Washington, DC 20005
Telephone: (202) 353-0533
FAX: (202) 616-8470

Eric. Soskin@usdoj.gov

Attorneys for Defendants
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
STATE OF CALIFORNIA, ) Case No. 3:20-cv-06761-EMC
et al. )
Plaintiffs, ) FEDERAL DEFENDANTS’ NOTICE OF
) MOTION AND MOTION TO DISMISS
Vv. ) PLAINTIFFS’ COMPLAINT FOR
) DECLARATORY AND INJUNCTIVE RELIEF;
BUREAU OF ALCOHOL, TOBACCO, ) [PROPOSED] ORDER
FIREARMS, and EXPLOSIVES (“ATF”), )
et al., ) Noting Date: January 14, 2021
) Time: 1:30 p.m.
Defendants. ) Place: Courtroom 5, 17th Floor

 

NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT C-20-6761- EMC

 
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under the standard for an agency change-of-position as described in State Farm, 463 U.S. 56. As to the
merits, ATF does not agree that its position has changed (or that its position is flawed in any other way),
see infra Part V.D.1, but the Court need not reach this issue’ because the statute of limitations in Section
2401(a) bars this claim. Plaintiffs assert that “around 2006, ATF .. . chang[ed] course], without providing
any justification for the switch,” and “concluded that 80% receivers with fire-control cavity area[s] [that
are] completely solid and unmachined do not qualify as firearms under the GCA.” Compl. { 66; see id.
{{ 136-37 (challenging “post-2006 approach”). If the Court credits Plaintiffs’ theory, nearly fifteen years
have passed since the agency established this purported policy, and thus, the allegation “plainly cannot
provide the foundation for an APA claim, because it occurred . . . years before” Plaintiffs filed their claims.
Hage, 810 F.3d 720.

C. Plaintiffs’ Claims Should Be Dismissed Because ATF’s Interpretation Of The
Statute And Classification Letters Satisfy The Standards Of The APA.

Congress has defined “firearm” with specificity as, inter alia, “(A) any weapon . . . which will or
is designed to or may readily be converted to expel a projectile by the action of an explosive,” or “(B) the
frame or receiver of any such weapon.” In doing so, Congress changed the prior definition to explicitly
exclude ““‘any part or parts’ of a firearm,” other than a receiver. See S. Rep. 89-1866 at 14; S. Rep. 90-
1097. A receiver blank may not “readily be converted to expel a projectile by the action of an explosive,”
is not “designed to. . . expel a projectile” in and of itself, and is not itself a “receiver.” It is therefore not
a “firearm” within the meaning of the statute.

1. The Statute Unambiguously Excludes Receiver Blanks From Subparagraph (A)
Of The Statutory Definition Of A Firearm.

“When confronted with an argument that an agency’s interpretation of a statute that it administers
is wrong, wé employ the familiar Chevron two-step test.” City and County of San Francisco v. USCIS,
944 F.3d 773, 790 (9th Cir. 2019). “When a court reviews an agency’s construction of the statute which
it administers,” the first question is “whether Congress has directly spoken” to the interpretive issue at
hand. Chevron, USA v. NRDC, 467 U.S. 837, 842 (1984). “If the intent of Congress is clear, that is the
end of the matter; for the court, as well as the agency, must give effect to the unambiguously expressed
intent of Congress.” Id. at 842-43. “[I]f the statute is silent or ambiguous . . ., the question . . . is whether
the agency’s answer is based on a permissible construction of the statute.” Jd. at 843. At this step, the

NOTICE OF MOTION AND MOTION TO DISMISS 15 C-20-761-EMC
COMPLAINT

 
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Case 3:20-cv-O 351-EMC Document 29 Filed 11/36. . Page 25 of 34

agency’s interpretation is “entitled to respect based on [ATF’s] specialized expertise,” P.W. Arms, Inc. v.
United States, 2016 WL 9526687 at *6 (W.D. Wash. 2016), as well as “whether the rationale given for
[ATF’s] decision was persuasive.” Springfield, Inc. v. Buckles, 116 F. Supp. 2d 85, 89 (D.D.C. 2000).

A statutory term bears “its commonly understood meaning at the time [Congress adopted the term],
as evidenced by contemporary sources” to that adoption. S.F., 944 F.3d at 793. Courts and agencies carry
out this analysis particularly “with reference to its dictionary definition at the time the statute was
enacted.” United States v. Carona, 660 F.3d 360, 367 (9th Cir. 2011); see S.F., 944 F.3d at 793. The
statutory definition has two key terms, the first of which, “convert,” means to “change from one form or
use to another.” Webster’s New World Dictionary of the American Language 311 (2d ed. 1970)
(“Webster’s 1970”). There appears to be no dispute that a receiver blank must be “change[d] from one
form . . . to another” before it can “expel a projectile by the force of an explosive.” 18 U.S.C. § 921(a)(3).

The plain meaning of the term “readily” in 1968 demonstrates that a receiver blank may not
“readily be converted” to expel a projectile by the force of an explosive. Dictionary definitions are
virtually unanimous in the definition of the word. “Readily” means something that can be done “without
delay” and “quickly,” or “without difficulty.” READILY, Webster’s 1970 at 1182; see also READILY,
Funk & Wagnall’s Standard College Dictionary 1121 (1973) (“In a ready manner, promptly, easily”).
This definition is consistent with that found in a major unabridged dictionary issued in 1966, the same
year the new definition appeared in proposed amendments to the FFA: “promptly; quickly; easily.”
READILY, Random House Dictionary of the English Language, Unabridged 1195 (1966). Although
leading legal dictionaries of the time do not separately define “readily,” one such source defined “readily
accessible” as “available for immediate use,” suggesting that the word “readily” did not bear a different
legal meaning than in ordinary usage. Ballentine’s Law Dictionary 1058 (3d ed. 1969).”°

A receiver blank cannot “readily” be “converted to expel a projectile by the action of an explosive”
within the meaning of these definitions. An unfinished receiver that has not yet had “machining of any

kind performed in the area of the trigger/hammer (fire-control) recess (or cavity),” see ATF Firearms

 

\3 The meaning of “readily” remained stable over time. The thirty-year-old, but then-current, version of
the Oxford English Dictionary (“OED”) defined “readily” as “[p]romptly, in respect of the time of action;
quickly, without delay; also, without difficulty, with ease or facility.” READILY, 2., 8 OED 195 (1933)
(1978 printing). Two hundred years earlier, Samuel Johnson defined “readily” likewise, as “Expeditely,
with little hinderance or delay.” Johnson, A Dictionary of the English Language (1755).

NOTICE OF MOTION AND MOTION TO DISMISS 16 C-20-761-EMC
COMPLAINT

 
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Case 3:20-cv-C SENG Boeument 5g lise {tad7 + Page 38 Bf $4

Technology Branch Technical Bulletin 14-01 (“Bulletin 14-01”), filed in Calif. Rifle and Pistol Ass'n v.
ATF, Case No. 1:14-cv-01211, ECF No. 24 at 285 (E.D. Cal. Jan. 9, 2015), \4 requires that numerous steps
be performed simply to yield a receiver, that then in turn must be assembled with other parts into a device
that can expel a projectile by the action of an explosive. These milling and metalworking steps—each of
which require skills, tools, and time—include: 1) “milling out of fire-control cavity”; 2) “drilling of
selector-lever hole”; 3) “cutting of trigger slot”; 4) “drilling of trigger pin hole; and 5) “drilling of hammer
pin hole.” Compl. Ex. 9. Importantly, ATF will treat any “indexing”—the inclusion, in the receiver blank,
of visual or physical indicators regarding the two-dimensional or three-dimensional parameters of the
machining that must be conducted—as rendering the receiver blank a firearm. See Compl. Ex. 12; Ex.
13; Shawn J. Nelson, Unfinished Lower Receivers, 63 U.S. Attorney’s Bulletin No. 6 at 44-49 (Nov. 2015)
(“Nelson, Unfinished Receivers”), available at: https://go.usa.gov/x7pP3. This prevents the makers of
receiver blanks from annotating the blank to instruct the purchaser as to the precise measurements needed,
in three dimensions, to “excavate the fire control cavity and drill the holes for the selector pin, the trigger
pin, and the hammer pin.” Nelson, Unfinished Receivers, at 47. The need to conduct these machining
steps from scratch, without indexing, and “carefully” means a working gun cannot be produced “without
difficulty.” Jd. And the work to excavate the cavities and drill holes in a solid, unmachined substrate
requires care rather than speed to avoid doing so raggedly or in the wrong area. See id. Therefore, the
receiver cannot be completed “without delay,” even leaving aside the further assembly with many other
parts needed to have a weapon that can expel a bullet by explosive action. A receiver blank therefore may
not “readily be converted” into a firearm. '°

Judicial constructions of the statute contemporaneous to 1968 reinforce the conclusion that
Congress has “directly spoken to the issue” of whether a receiver blank is a firearm. Chevron, 467 U.S.

842. “For example, shortly after Congress adopted the definition of “firearm,” the Second Circuit rejected

 

14 The Court may take judicial notice of this document, a guide that assists ATF Special Agents and others
in analyzing receiver blanks, as a filed court record. See Rupert, 68 F. Supp. 3d at 1154.

15 Nor is a receiver blank “designed to . . . expel a projectile by the action of an explosive.” 18 U.S.C.
921(a)(3)(A). To the contrary, it is “designed to” be a receiver, which, although a key component of a
firearm that expels a projectile through explosive action, is not itself the firearm. A receiver itself may
not permissibly be interpreted to satisfy subparagraph (A) of the statutory definition of “firearm” because
that would “render an entire subparagraph meaningless,” i.e., subsection (B), Congress’s specific inclusion
of “receiver” as an alternative meaning of “firearm.” Nat’l Ass’n of Mfrs. v. DoD, 138 S. Ct. 617, 632
(2018); see Gorospe v. C.L.R., 451 F.3d 966, 970 (9th Cir. 2006) (applying canon of surplusage).

NOTICE OF MOTION AND MOTION TO DISMISS 17 C-20-761-EMC
COMPLAINT

 
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CERTIFICATE OF SERVICE
I hereby certify that on June 16, 2021, the foregoing PLAINTIFFS’ EMERGENCY
MOTION FOR PARTIAL SUMMARY JUDGMENT - EXPEDITED HEARING
REQUESTED and MEMORANDUM IN SUPPORT of that motion, was served by hand on

defendant Montgomery County by delivering a copy of these filings by hand to:

Marc P. Hansen, Esq.
County Attorney,
Montgomery County, MD
101 Monroe Street, 3rd floor
Rockville, Maryland 20850

MARK W. PENNAK

Maryland Shall Issue, Inc.

9613 Harford Rd, Ste, C #1015
Baltimore, MD 21234-21502
mpennak@marylandshallissue.org
Phone: (301) 873-3671

MD Atty No. 1905150005
Dated: June 16, 2021

 
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IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., et al., Case No.: 485899-V
Plaintiffs,
vs.

MONTGOMERY COUNTY, MARYLAND,
Defendant.

 

MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR
PARTIAL SUMMARY JUDGMENT — EXPEDITED HEARING REQUESTED

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Montgomery County, M
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IN CIRCUIT COURT FOR MONTGOMERY COUNTY, MARYLAND

MARYLAND SHALL ISSUE, INC., et al., Case No.: 485899-V

Plaintiffs,

vs MEMORANDUM IN SUPPORT OF
PLAINTIFFS’ EMERGENCY MOTION

FOR PARTIAL SUMMARY JUDGMENT
MONTGOMERY COUNTY, MARYLAND
° ° YL > | EXPEDITED HEARING REQUESTED

Defendant.

 

 

 

Pursuant to Rule 2-311, plaintiffs respectfully submit this memorandum in support of
plaintiffs’ emergency motion for partial summary judgment on Counts I, II and IV of tha
Complaint. Plaintiffs request that this Court grant declaratory and equitable relief on these Counts
enjoining defendant, Montgomery County (“County”), from enforcing Bill 4-21, the legality of
which is challenged in the Verified Complaint filed by plaintiffs on May 28, 2021. For the reasons
set forth below, plaintiffs’ motion should be granted.

STATEMENT OF THE CASE
I. INTRODUCTION.

On April 16, 2021, the County signed into law Bill 4-21, a copy of which is attached to the
Verified Complaint as Exhibit A. Bill 4-21 becomes effective on July 16, 2021. Count I of the
Verified Complaint alleges that through the enactment of County ordinance 4-21, the County has
exceeded its powers and jurisdiction to criminally regulate the possession and transfer of lawfully
owned firearms in a way that is in direct conflict with Article XI-E, § 3 of the Maryland
Constitution. Count II of the Verified Complaint alleges that Bill 4-21 is inconsistent with multiple

existing Maryland statutes, in violation of Maryland’s Express Powers Act, MD Code, Loca]

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JUN 16 2021
Clerk of the Circuit ye

 

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Government, §10-206(a),(b). Count III of the Verified Complaint alleges that the restrictions
enacted by Bill 4-21 violate the Maryland Takings Clause, Article III § 40, and the Due Process
Clause of Article 24 of the Maryland Declaration of Rights by depriving plaintiffs of their vested
property rights in the personal property regulated by Bill 4-21. Count IV alleges that the hopelessly
vague language adopted by Bill 4-21 violates the Due Process Clause of the Fourteenth
Amendment and the Due Process Clause of Article 24 of the Maryland Declaration of Rights
Plaintiffs seek declaratory and injunctive relief on their State Constitutional and statutory law
claims. Plaintiffs seek declaratory and equitable relief as well as compensatory damages, nomina
damages, and punitive damages under 42 U.S.C. 1983, under Count IV, their federal constitutiona
claim. In this motion, plaintiffs seek summary judgment awarding declaratory and injunctive relief
on Counts I, II, and IV, leaving the Takings Claims of Count III, damages under Count IV and the
award of attorney’s fees under 42 U.S.C. §1983, to further proceedings in this Court. See Part VI
infra.

Il. STATEMENT OF FACTS.

The plaintiffs in this matter are Maryland Shall Issue, Inc. (“MSI”), two Montgomery
County businesses, ENGAGE ARMAMENT LLC (“Engage”) and I.C.E. FIREARMS &
DEFENSIVE TRAINING, LLC (“ICE Firearms”). Engage is a Type I, Type VII, and Type X
Federal Firearms Licensee (“FFL”) and is thus a federally licensed seller and manufacturer of
firearms and explosive devices. See Complaint {| 26; https:/Avww.atf.gov/resource-center/ty pes:
federal-firearms-licenses-ffls (listing the types of FFLs). Engage is also a registered Maryland
Firearms Dealer. (Id.). ICE Firearms provides firearm training to individuals with handguns, rifles
and shotguns. (Id. { 32). The named plaintiffs also include the respective owners of these

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businesses, two supervisory employees of Engage, a contractor at Engage, and the spouse of tha
owner of ICE Firearms. With the exception of plaintiff Carlos Rabanales, who lives in Frederick
Maryland and commutes to work at Engage, all the individual plaintiffs are residents of
Montgomery County. These businesses and individuals are directly regulated by Bill 4-21 and are
all aggrieved by the enactment of Bill 4-21. Complaint J 24-34. Attached to the Verified
Complaint are the sworn verification statements of each of the individual plaintiffs and the
authorized representatives of the corporate plaintiffs. The supplemental declarations of each of the
plaintiffs are attached to the Motion. The factual allegations concerning each of these plaintiffs
may thus be taken as evidence for purposes of this Motion for Summary Judgment.

All the individual plaintiffs are also members of MSI. MSI is a Section 501(c)(4), all
volunteer, non-partisan, voluntary membership organization with approximately 2000 members
state-wide. Complaint J] 24-25. MSI is dedicated to the preservation and advancement of gun
owners’ rights in Maryland. It seeks to educate the community about the right of self-protection
the safe handling of firearms, and the responsibility that goes with carrying a firearm in public
MSI has one or more members who live outside of Montgomery County, but who travel to and/or
work within Montgomery County. (Id.). One such member is plaintiff Carlos Rabanales, who lives
in Frederick County, Maryland. Complaint { 28. Among the membership of MSI are “qualified
instructors” who engage in firearms training, including firearms instruction of minors. Plaintiffs
Ronald and Nancy David are such qualified instructors. Complaint { 33, 34. MSI filed comments
in opposition to Bill 4-21, when it was initially proposed in February of 2021 and MSI and its
members are aggrieved by the enactment of Bill 4-21 into law. Complaint § 25 and Exh.B to the

Complaint.

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Til. BILL 4-21.

Bill 4-21 embodies Montgomery County’s latest attempt to regulate firearms. As detailed
in Complaint ({{ 4-7), Bill 4-21 extensively amends the County’s “Weapons” ordinance County
Code Section 57, to regulate the possession, sale, transfer and transport of firearms, including, but
not limited to, so-called “ghost guns.” The manner in which Bill 4-21 does so is detailed in the
Complaint. Id. J] 4-7. The legal framework of federal and State statutory law in which Bill 4-21
was enacted is likewise detailed in the Complaint. Id. {§ 8-19. The Maryland Constitutiona
provisions and State statutory and preemption provisions of Maryland law are set forth in the
Complaint. Id. [] 20-23. These provisions of the Complaint are incorporated herein by reference.

ARGUMENT

Plaintiffs are entitled to partial summary judgment on Counts I, II and IV of the Verified
Complaint. The material facts are established by the declarations of each of the plaintiffs and are
attached to the Complaint and those basic facts cannot be reasonably disputed. On those facts
plaintiffs are entitled to summary judgment as a matter of law on each of these Counts, as the
illegality of the County’s actions on each Count appear on the face of the Complaint.

L SUMMARY JUDGMENT STANDARDS.

Plaintiffs seek partial summary judgment under Rule 2-501 on Counts I, II and IV. The
relevant material facts are established by the declaration of each of the plaintiffs attached to the
Verified Complaint and cannot be reasonably disputed. Plaintiffs are entitled to summary judgment
on each of these Counts as a matter of law. See, e.g., Okwa v. Harper, 360 Md. 161, 178, 757 A.2d
118 (2000) (summary judgment “is used to dispose of cases when there is no genuine dispute of
material fact and the moving party is entitled to judgment as a matter of law”).

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IL. SO CALLED “GHOST GUNS,” A PRIMER.

Bill 4-21 purports to address so-called “ghost guns,” which are defined by Bill 4-21 as a
“a firearm, including an unfinished frame or receiver, that lacks a unique serial mimber engraved
or cased in metal alloy on the frame or receiver by a licensed manufacturer, maker or importer
under federal law or markings in accordance with 27 C.F.R. § 479.102.” In other words, the term
“ghost gun” is merely a pejorative, scary name for firearms that are lawfully manufactured by an
individual for personal use and thus lack a serial number on the receiver that federally licensed
and regulated manufacturers would otherwise engrave pursuant to 18 U.S.C. § 923(i). Such
firearms built for personal use have been perfectly legal under federal and Maryland law for the
entire history of the United States and remain lawful to this day.

Under Federal law, a “firearm” is defined by 18 U.S.C. § 921(a)(3), to include not only a
weapon that will, is designed to, or may readily be converted to expel a projectile, but also th¢
“frame or receiver” of any such weapon. Complaint, 99.! Essentially the same definition is in MD
Code, Public Safety, § 5-101(h)(1). Complaint 410. As detailed in the Complaint (711), since 1968
the Federal Bureau of Alcohol, Tobacco and Firearms (“ATF”) has defined a “receiver” as “[t]hat
part of a firearm which provides housing for the hammer, bolt or breechblock, and firing
mechanism, and which is usually threaded at its forward portion to receive the barrel.” See 27

C.F.R. § 478.11; 33 Fed. Reg. 18558 (1968). Under ATF Guidance, an unfinished receiver that

 

' Through inadvertence, the paragraphs numbers 9, 10 and 11 on pages 7 and 8 of the Complaint
were duplicated on pages 9 and 10 in the final Compliant filed on May 28. For clarity, the second
set of numbers 9, 10 and 11 will be referred to henceforth as paragraphs 9a, 10a and 11a, ag
necessary.

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has not yet had “machining of any kind performed in the area of the trigger/hammer (fire-control)
recess (or cavity),” is not considered to be a receiver and is thus not considered to be a firearm
ATF Firearms Technology Branch Technical Bulletin 14-01.? Neither Maryland law nor Bill 4-21
defines a “receiver,” much less purports an “unfinished receiver,” as that term is used in Bill 4-21
Under Federal and Maryland law, if the receiver is insufficiently “finished” it is simply not 4
receiver at all and thus not a firearm, much less a firearm component. Complaint {ff 8-11.

The Department of Justice and the ATF recently published a proposed rule in the Federa
Register that further defines a “receiver.” See Definition of “Frame or Receiver” and Identification
of Firearms, 86 Fed. Reg. 27720-01, 27730, 2021 WL 2012830 (May 21, 2021) (refining the
definition of “receiver” by reference to a list of factors to be considered in determining whether an
object can be “readily converted” to a firearm within the meaning of Section 921(a)(3)). Nothing
in these proposed rules would regulate the possession or manufacture of privately manufactured
firearms for personal use. 86 Fed. Reg. at 27725 (“nothing in this rule would restrict persons not
otherwise prohibited from possessing firearms from making their own firearms at home without

markings solely for personal use (not for sale or distribution) in accordance with Federal, State

 

2 Technical Bulletin 14-01 is publically available at https://bit.ly/3vF5qE7. The brief of the ATH
in the referenced California litigation is publically available through the federal PACER systeny
and the relevant portion of the ATF’s brief is attached to this memorandum for the purpose of
advising the Court of the position of an expert agency (the ATF) on matters relevant to this case
That California litigation has been held in abeyance pending the rulemaking proceedings|
Complaint { 19, recently instigated by the ATF and the Department of Justice. See Order of May;
26, 2021 (granting joint stipulation staying the case until ATF issues a final rule). This Court may,
take judicial notice of these official federal documents and court records pursuant to MD Rule 5;
201and plaintiffs specifically request that this Court do so.

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and local law’). The proposed Rule thus would regulate FF Ls, but not regulate private individuals
who make their own firearms. See 86 Fed. Reg. at 27732.

Manufacturing an unfinished receiver into a “functional lower receiver” is not a trivia
process, as pointed out in court filings submitted by the ATF and the Department of Justice. For
example, in State of California v. BATF, No. 20-cv-6761 (N.D. Cal.), the Department of Justice
and the ATF explained:

An unfinished receiver that has not yet had “machining of any kind performed in the area
of the trigger/hammer (fire-control) recess (or cavity),” see ATF Firearms Technology
Branch Technical Bulletin 14-01 (“Bulletin 14-01”), filed in Calif. Rifle and Pistol Ass’n
v. ATF, Case No. 1:14-cv-01211, ECF No. 24 at 285 (E.D. Cal. Jan. 9, 2015), requires that
numerous steps be performed simply to yield a receiver, that then in turn must be assembled
with other parts into a device that can expel a projectile by the action of an explosive. These
milling and metalworking steps—each of which require skills, tools, and time—include
1) “milling out of fire-control cavity”; 2) “drilling of selector-lever hole”; 3) “cutting of
trigger slot”; 4) “drilling of trigger pin hole; and 5) “drilling of hammer pin hole.” Compl
Ex. 9.

ok ok &
The need to conduct these machining steps from scratch, without indexing, and “carefully’

means a working gun cannot be produced “without difficulty.” Id. And the work ta
excavate the cavities and drill holes in a solid, unmachined substrate requires care rather
than speed to avoid doing so raggedly or in the wrong area. See id. Therefore, the receiver
cannot be completed “without delay,” even leaving aside the further assembly with many
other parts needed to have a weapon that can expel a bullet by explosive action. A receiver
blank therefore may not “readily be converted” into a firearm.
Federal Defendants’ Notice Of Motion And Motion To Dismiss Plaintiffs’ Complaint For
Declaratory And Injunctive Relief, at 16-17 (filed Nov. 30, 2020) (attached to Motion).
WI. BILL 4-21 IS CONTRARY TO THE EXPRESS POWERS ACT
Summary judgment is appropriate on Count II of the Complaint. Complaint [J 40-50
Under the Express Powers Act, MD Code, Local Government, § 10-206, Montgomery County lawg
must be “not inconsistent with State law” and the County is barred from enacting laws that are

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“preempted by or in conflict with public general law.” As detailed in the Complaint and explained
further below, Bill 4-21 is in violation of these limitations for multiple reasons and thus must be
struck down. See Boulden v. Mayor and Com'rs of Town of Elkton, 311 Md. 411, 415, 535 A.2d
477 (1988) (“ordinances which assume directly or indirectly to permit acts or occupations which
the State statutes prohibit, or to prohibit acts permitted by statute or Constitution, are under the
familiar rule for validity of ordinances uniformly declared to be null and void”); Talbot Cty. v|
Skipper, 329 Md. 481, 487 n.4, 620 A.2d 880 (1993) (preemption by conflict exists if a loca
ordinance “prohibits an activity which is intended to be permitted by state law, or permits an
activity which is intended to be prohibited by state law”); City of Baltimore v. Sitnick, 254 Md

303, 317, 255 A.2d 376 (1969) (“a political subdivision may not prohibit what the State by genera

public law has permitted”). See also Wheelabrator Baltimore, L.P. v. Mayor and City Council of

Baltimore, 449 F.Supp.3d 549, 560 (D. Md. 2020) (summarizing Maryland preemption law).

In this respect, the County cannot rely on the limited exceptions to preemption specified in
MD Code, Criminal Law, § 4-209(b), to override these provisions of the Express Powers Act
Section 4-209(b) creates exceptions from the broad preemption imposed by Section 4-209(a)
nothing in Section 4-209(b) purports to create an exception from limitations on localities imposed
by Section 10-206 of the Express Powers Act. Section 10-206 bars any local law that is inconsistent
preempted by or in conflict with some other provision of State law. A locality may regulate under
the Section 4-209(b) exception only (at most) to the extent that the regulation is not “inconsistent
with” or “in conflict” or preempted by some other provisions of existing state law.

In enacting Bill 4-21, the County here failed to grasp that Section 4-209(b) is not a “get out
jail free” card; Section 4-209(b) does not give the County a free pass for the County to regulate in

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any way it wants. The County still must comply with the Express Powers Act. Here, as the United
States District Court for the District of Maryland has recognized, Maryland law, discussed below!
makes clear that “the Legislature” has “occup[ied] virtually the entire field of weapons and
ammunition regulation,” holding further that there can be no doubt that “the exceptions to
otherwise blanket preemption [in Section 4-209] are narrow and strictly construable.” Mora v. City
of Gaithersburg, 462 F.Supp.2d 675, 689 (2006), modified on other grounds, 519 F.3d 216 (4th
Cir. 2008). See also 76 Op. Md. Atty Gen. 240, 244-46 (December 17, 1991) (discussing the
history of Section 4-209).

A. Bill 4-21 Is Expressly Preempted By Section 4-209(a).

The provisions of MD Code, Criminal Law, § 4-209, were originally enacted in 1985 by
the General Assembly. See 1985 Laws of Maryland, ch. 724. Section 4-209(a) broadly and
expressly “preempts the right of a county, municipal corporation, or special taxing district ta
regulate the purchase, sale, taxation, transfer, manufacture, repair, ownership, possession, and
transportation of: (1) a handgun, rifle, or shotgun; and (2) ammunition for and components of 4
handgun, rifle, or shotgun.” Section 4-209(b) then provides a limited list of exceptions to that
facially all-encompassing preemption, stating that “[a] county, municipal corporation, or specia
taxing district may regulate the purchase, sale, transfer, ownership, possession, and transportation
of the items listed in subsection (a) of this section: (i) with respect to minors; (ii) with respect ta
law enforcement officials of the subdivision; and (iii) except as provided in paragraph (2) of this
subsection, within 100 yards of or in a park, church, school, public building, and other place of
public assembly. See Complaint 20 d. As explained below, the County has, by ipse dixit, sought
to expand its powers far beyond that even remotely permitted by Section 4-209(b).

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Bill 4-21 has effectively rewritten Section 4-209(b) to vastly expand its limited exceptions
to the broad preemptions otherwise imposed by Section 4-209(a). Under Bill 4-21:

A “place of public assembly” is a place where the public may assemble, whether the place

is publicly or privately owned, including a [government owned] park [identified by the

Maryland-National Capital Park and Planning Commission]; place of worship; [elementary

or secondary] school; [public] library; [government-owned or -operated] recreational

facility; hospital; community health center; long-term facility; or multipurpose exhibition

facility, such as fairgrounds or a conference center. A place of public assembly includes al]

property associated with the place, such as a parking lot or grounds of a building.
(Brackets indicate those portions of existing Section 57 of the County Code that were deleted by,
Bill 4-21. Italicized portions are those parts that were added to Section 57 by Bill 4-21). Thesa
amendments to Section 57 of the County Code are breathtaking and leave no doubt that the County
has vastly overreached. See Complaint J 59-61. Through the artifice of broadly defining the
statutory terms set out in Section 4-209(b), the County has effectively amended Section 4-209(b)
The County has no power to rewrite State law in this matter.

As is apparent, prior to the enactment of Bill 4-21, the scope of Section 57 of the County,
Code was restricted to regulating firearms in a short list of very specific locations. Under Bill 4-
21, that list is gone and has been replaced with any location where people “may assemble’
regardless of “whether the place is publicly or privately owned.” Such a place could include every

public or private sidewalk in the County. Under Bill 4-21, these locations where people may

assemble “includ[e]’? (but are not limited to) a vastly redefined and altered list of places. For

 

3 See Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 162 (2012) (concluding that use of
the word “includes” in a definition “is significant because it makes clear that the examples
enumerated in the text are intended to be illustrative, not exhaustive”); Samantar v. Yousuf, 560
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example, Section 57 formerly listed as a location a “public library.” Bill 4-21 strikes out “public’
and thus the Bill includes any “library,” even a private home library. Similarly, Bill 4-21 now
regulates any “recreational facility;” it struck out Section 57’s language that limited that reach tq
a “government-owned or operated” recreational facility and thus Section 57 now arguably,
regulates a private playground. Bill 4-21 covers any “park;” it deleted Section 57’s prior limit on
that term as including only “government owned” park that was “identified by the Maryland,
National Capital Park and Planning Commission.” Bill 4-21 covers a “school;” it deleted Section
57’s former limitation to “elementary or secondary” school, thereby arguably regulating within
100 yards of any “school” of any type, private or public, where any sort of instruction may be
given, including instruction to adults. Bill 4-21 newly adds to the Section 57 list a “community
health center” and “long-term facility,” but provides no definition for either type of facility. It is
difficult to imagine a broader sweep of a “place of public assembly” than that enacted by Bill 4,
21.

This structure of Section 57, as amended by Bill 4-21, is radically different than that present
in prior Section 57 and, obviously, vastly different than the language employed in Section 4-209(b).
The Bill’s definition of a “place of public assembly” must be seen for what it is: an impermissible
attempt to evade the preemption provisions of Section 4-209(a) by defining the scope of the
exception so as to regulate County-wide. Bill 4-21’s definition of a “place of public assembly” as

meaning any place where the public “may assemble” whether that be on private or public land,

 

U.S. 305, 317 n.10 (2010) (“The word ‘includes’ is usually a term of enlargement, and not of
limitation.”).

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literally encompasses every sidewalk, every street, every restaurant, every coffee shop, and every
private business in the entire County as all such locales may be places where the public “may’}
assemble either in the present or in the future. The term “may assemble” certainly includes all
public forums, as the term is used in the First Amendment context. See, e.g., United States v. Grace
461 U.S. 171, 176 (1983) (noting that “streets, sidewalks, and parks” are traditional public forums)
The term even includes private homes in so far as such homes “may” be used by two or more of
the public from time to time in the present or in the future to “assemble.” In stretching its reach ta
every “place” within 100 yards of its vastly expanded “place of public assembly,” Bill 4-21 literally
regulates the totality of Montgomery County, including untold tens of thousands of homes and
businesses throughout the County. Indeed, it is difficult to think of any location within the County
that is not within 100 yards of a sidewalk or street, or other location where people “may assemble.’

The County’s attempt to evade the Section 4-209(a) preemption provisions must ba
rejected. The limited exceptions to the preemption provisions of Section 4-209(b) must be
construed narrowly in light of the underlying broad preemption otherwise imposed by Section 44
209(a). As implemented by the County in Bill 4-21, the exceptions of Section 4-209(b) literally,
reach County-wide and thus swallow the broad preemption provisions of Section 4-209(a). That

result is contrary to general principles of statutory construction. See, ¢.g., Grosvenor v. Supervisor

of Assessments of Montgomery Co., 271 Md. 232, 242, 315 A.2d 758 (1974) (“A construction of

a statute which produces an unreasonable or illogical result should be avoided wherever it ig

possible to do so consistent with the statutory language.”); Perdue, Inc. v. State Dept. of

Assessments and Taxation, 264 Md. 228, 286 A.2d 165 (1972) (“A court cannot extend the scope

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of an exemption by giving to the language creating it a forced, strained, and unnatural
construction.”).

Nothing in the actual language of Section 4-209 can be read to allow a County to expand
and redefine the exception provisions in the manner it has done here. The proviso in Section 4-
209(b) that allows the County to regulate firearms in within a 100 yards of “another place of publia
assembly” must be read in context. See, e.g., Berry v. Queen, 469 Md. 674, 690, 233 A.3d 42
(2020) (“In order to interpret a word’s specific meaning in a particular statute we look to the
context in which the word is used.”) (citation omitted); Blue v. Prince George's County, 434 Md
681, 689, 76 A.3d 1129 (2013) (same). By its very reference to “100 yards,” Section 4-209(b)
demonstrates a legislative intent to limit the geographic reach of Section 4-209(b). In context, the
exceptions are limited; they do not allow the County to regulate places where people “may’
assemble, County-wide. Rather, Section 4-209(b) allows regulation “within 100 yards of or in 4
park, church, school, public building, and other place of public assembly,” thus covering 100 yards
of specific, existing locations where people typically already assemble in a manner akin to ar
assembly at a park, church, school or public building. Similarly, Section 4-209’s reference to a
“public” building strongly indicates that Section 4-209(b) does not allow the County to regulate
all property, “whether the place is publicly or privately owned.” Nothing in Section 4-209(b)
suggests that it authorizes County-wide regulations over public and private property in the manner
imposed by Bill 4-21.

The rule is that “‘when general words in a statute follow the designation of particular things

or classes of subjects or persons, the general words will usually be construed to include only thos¢

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things or persons of the same class or general nature as those specifically mentioned.” In ré

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Wallace W., 333 Md. 186, 190, 634 A.2d 53 (1993), quoting Giant of Md. v. State's Attorney, 274

Md. 158, 167, 334 A.2d 107 (1975). This is simply an application of the canon of ejusdem generis

which is based on “the supposition that if the legislature had intended the general words to be
construed in an unrestricted sense, it would not have enumerated the specific things.” State v. 158
Gaming Devices, 304 Md. 404, 429 n.12, 499 A.2d 940 (1985). See also State v. Sinclair, 274 Md
646, 650, 659, 337 A.2d 703 (1975). The canon of ejusdem generis “limits general terms [that]
follow specific ones to matters similar to those specified.” CSX Transp., Inc. v. Alabama Dept. of
Revenue, 562 U.S. 277, 294 (2011). See also Welsh v. Boy Scouts of America, 993 F.2d 1267, 1269

(7th Cir.), cert. denied, 510 U.S. 1012 (1993) (“The statute in listing several specific physical

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facilities, sheds light on the meaning of ‘other place of exhibition or entertainment.’”). By using
the term “and other place of public assembly,” Section 4-209 was obviously intended to include
“other” places which are akin or similar to the places expressly mentioned in the same statutory
sentence, viz. a public “park,” a “church,” a public “school” or a “public building.” That
understanding of Section 4-209(b) was incorporated in Section 57 of the County Code prior to the
enactment of Bill 4-21. The vast reach of Bill 4-21 to all places where the public “may” assembl¢
and the Bill’s new, vastly expanded, laundry list of such places are obviously incompatible with
these principles.

B. Bill 4-21 Is Expressly And Impliedly Preempted Under Other Law.

1. Express preemption

Under Maryland law, in cases where two statutes arguably conflict in coverage, the morq
specific statute controls. See, e.g., Harvey v. Marshall, 158 Md.App. 355, 365, 857 A.2d 529
(2004) (“’where two enactments—one general, the other specific—appear to cover the same

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subject, the specific enactment applies’”), quoting Department of Public Safety and Correctional
Services v. Beard, 142 Md.App. 283, 302, 790 A.2d 57 (2002). See also Department of Natural
Resources v. France, 277 Md. 432, 461, 357 A.2d 78 (1976) (the “general enactment must be taker
to affect only such cases within its general language as are not within the provisions of the
particular enactment”); Cremins v. County Com’rs of Washington County, 164 Md.App. 426, 448]
883 A.2d 966 (2005) (same).

Such circumstances are present here. Section 4-209(a) broadly preempts county regulation
of the “purchase, sale, taxation, transfer, manufacture, repair, ownership, possession, and
transportation of: (1) a handgun, rifle, or shotgun; and (2) ammunition for and components of a
handgun, rifle, or shotgun,” but then, in Section 4-209(b), allows the counties to regulate all these
items in narrow circumstances. Yet, allowing the counties to broadly regulate all firearms undey
Section 4-209(b) would conflict with numerous other, very specific preemption statutes regulating
firearms, all of which have been utterly ignored by the County in enacting Bill 4-21.

For example, Bill 4-21 purports to ban the possession or transfer or sale of any firearm
within 100 yards of its illegally redefined “place of public assembly.” Yet, MD Code, Public Safety
§ 5-133(a) expressly preempts the County from regulating “the possession of a regulated firearm.’
Similarly, MD Code, Public Safety, § 5-134(a), preempts a County from regulating “the transfer
of a regulated firearm,” and MD Code, Public Safety, § 5-104, preempts the County from
regulating the “sale of a regulated firearm.” There are no exceptions to these specific preemption
provisions which, on their face, would preempt county regulation of any “regulated firearm.” The
term “regulated firearm” is broadly defined in State law, MD Code, Public Safety, § 5-101(r), ta

include any “handgun” as well as other types of weapons.

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The County also bans the “transport” of any firearm or a “major component” of a firearm,
within 100 yards of its illegally redefined place of public assembly. A “major component” is
defined by Bill 4-21 as “the slide or cylinder or the frame or receiver,” a definition that obviously
includes parts of handguns. Yet, Section 6 of Chapter 13, of the 1972 Sessions Laws of Maryland
preempts County regulation of “wearing, carrying, or transporting of handguns.’ That preemption
includes the “the slide or cylinder or the frame or receiver” of a handgun as they are parts of
handguns. Indeed, a “receiver” is considered to be a “firearm” under both Federal and State law
and thus Section 6 preempts County regulation of “receivers” as well. This preemption provision
is more specific than Section 4-209 as it addresses a very specific type of regulation, viz., the
“wearing, carrying, or transporting of handguns.”

The Court of Appeals broadly enforced those 1972 preemption provisions in Montgomery
County v. Atlantic Guns, Inc.; 302 Md. 540, 489 A.2d 1114 (1985). There, the Court struck down
Montgomery County’s attempt to regulate the sale of ammunition. Relying on an opinion by the
Maryland Attorney General, the Court of Appeals had no difficulty in ruling that “’[i]t is obvious
that the local legislative proposals in question would be preempted if they directly restricted

possession or sale of handguns. In our view, State law mandates the same result with respect to

 

“ Section 6 provides:

Be it further enacted, That all restrictions imposed by the law, ordinances, or regulations
of the political subdivisions on the wearing, carrying, or transporting of handguns are
superseded by this Act, and the State of Maryland hereby preempts the right of the politica
subdivisions to regulate said matters.”

The text is available at the Maryland State Archives, https://bit.ly/3ix81MV.
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restrictions on handgun ammunition.” (302 Md. at 548-49, quoting 67 Op.Att'y.Gen. 316, 319-20
(1982)).

The same logic applies here with respect to Bill 4-21’s ban on possession, sale and transport
of handguns within 100 yards of a “place of public assembly,” as illegally defined by Bill 4-21
Bill 4-21 expressly and directly regulates the possession, sale and transport of handguns, the very,
subject matter specifically addressed in the 1972 preemption provisions, as construed in Atlantic
Guns. Bill 4-21 broadly abrogates that specific preemption provision throughout the County by
expansively defining the “place of public assembly” to include any location in which people “may
assemble” and including within that definition vastly expanded locations that are deemed, ipse
dixit, to be places of “public assembly,” including places located on private property. In effect,
Bill 4-21 is no less County-wide than the ammunition regulation at issue in Atlantic Guns and it is
no less preempted by the 1972 preemption statute.

Express preemption is also not limited to regulated firearms. In 2021, the General
Assembly enacted, over the Governor’s veto, MD Code, Public Safety, § 5-207(a), which preempt
county regulation of “the transfer of a rifle or shotgun,” a category that covers non-regulated
firearms. Again, that preemption is more specific as it is directed to a particular type of regulation
over a particular type of firearm, viz., the “transfer” of a “rifle or shotgun.” Taken together, thes¢
statutes comprehensively regulate virtually all firearms in Maryland. For example, by preempting
regulation of “transfers” of ordinary long guns, Section 5-207(a) necessarily preempts regulation
of the sale of long guns, as a “sale” is a type of “transfer.”

With enactment of Bill 4-21, the County has effectively nullified the operation of all these
preemption provisions throughout the entirety of Montgomery County. At a minimum, the

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presence of these other preemption provisions strongly indicates that the exception to preemption
contained in Section 4-209(b) must be very narrowly construed. Otherwise, a county could
effectively override all these preemption provisions by expansively defining its powers under thq
exceptions provisions of Section 4-209(b). That is, of course, precisely what the County has done
in this case with its enactment of Bill 4-21. The Express Powers Act bars such conduct.
Maryland law also makes clear that the courts are to presume that the General Assembly is
aware of existing Maryland statutes when it enacts or amends legislation. Thus, “[i]t is an
established canon of statutory construction that where the legislature enacts a specific provision
subsequent to a general provision, the former controls.” Prince George's County v. Fitzhugh, 308
Md. 384, 390 n.4, 519 A.2d 1285 (1987) (collecting cases). See also Government Employees Ins|
Co. and GEICO v. Insurance Com’r., 332 Md. 124, 133, 630 A.2d 713 (1993). Here, Section 4-
209 was originally enacted in 1985 and amended, in pertinent part, in 2002. MD Acts of 2002
ch.26 §2. In contrast, the preemption provisions concerning rifles and shotguns in MD Code
Public Safety, § 5-207(a), were enacted in 2021. The preemption provisions of MD Code, Public
Safety, § 5-133(a) (preempting regulation of “the possession of a regulated firearm”), were
amended and reenacted in 2003. See 2003 Maryland Laws, ch. 5 §2. MD Code, Public Safety, §
5-104 (preempting regulation of a sale of a regulated firearm), and MD Code, Public Safety, § 5;
134 (preempting regulation of a transfer of a regulated firearm) were likewise amended and
reenacted in 2003 in the same legislation. (Id.). These later amended, specific preemption laws

limit the scope of the exception provisions of Section 4-209(b) and are controlling.

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2. Implied preemption

Bill 4-21’s bans on sale, transfer, transport and mere possession within 100 yards of tha
County’s vastly expanded definition of a “place of public assembly” are also impliedly preempted
because it interferes with the comprehensive regulation of firearms otherwise imposed by State
law. These comprehensive state law provisions impliedly “occupy the field” and thus preempt
County regulation that has the effect of regulating the sale, possession, transfer and transport of
firearms, County-wide. See, e.g,, Altadis U.S.A., Inc. v. Prince George’s County, 431 Md. 307,
311-12, 65 A.3d 118 (2013) (collecting cases) (holding that county regulation of the sale of cigars
was impliedly preempted by state statutory provisions that regulated the sale of tobacco); Alliea
Vending v. Bowie, 332 Md. 279, 631 A.2d 77 (1993) (holding that local ordinances regulating
cigarette vending machines were preempted by a state licensing system for such machines).

First, Bill 4-21’s regulations would effectively regulate the operation of many if not all
FFLs and licensed Maryland firearms dealers, such as plaintiff Engage. Complaint { 26 (“The
business location of Engage is arguably within 100 yards of a ‘place of public assembly’ as defined
by Bill 4-21”). Such regulation is both expressly and impliedly preempted. As noted, MD Code:
Public Safety, § 5-104, expressly preempts the right of any local jurisdiction to regulate the sale
of a regulated firearm. Dealers are also comprehensively regulated by Federal and State law. Seq
18 U.S.C. § 923 (establishing a comprehensive regulatory and licensing system for FFLs); MD
Code, Public Safety, § 5-106 (requiring a dealer’s license issued by the State Police before a person
may engage “in the business of selling, renting, or transferring regulated firearms”); MD Code
Public Safety, § 5-107 (specifying the contents of an application for a dealer’s license); MD Code
Public Safety, § 5-108 (requiring a background check for a dealer’s license); MD Code, Publi

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Safety, § 5-111 (establishing the terms of a dealer’s license). Dealers were further extensively
regulated in 2013 with the enactment of the Firearms Safety Act of 2013, 2013 Maryland Laws ch
427 (amending MD Code, Public Safety, §§ 5-110, 5-114, 5-115, 5-146). Dealers are also subject
to extensive regulation by the Maryland State Police, including regulations controlling what
firearms dealers may sell and where dealers may conduct business. See COMAR, §§
29.03.01.42-.57.

Second, sales and purchases of firearms by individuals are also heavily regulated. Persong
seeking to purchase a regulated firearm must submit an application. MD Code, Public Safety, § 5-
117. The contents of that application are controlled by State law. MD Code, Public Safety, § 54
118. State law controls the fees and retention of for such sales, MD Code, Public Safety, § 5-120
and specifies the times and manner in which such sales are completed. MD Code, Public Safety, §
5-123. Secondary transactions are heavily regulated, MD Code, Public Safety, § 5-124, as is the
identity of the firearm being sold. MD Code, Public Safety, § 5-125. Maryland law controls wher
the purchase may take place, MD Code, Public Safety, § 5-128, and the number of firearms that
may be purchased. MD Code, Public Safety, § 5-129. State law controls the types of weapons that
an individual may purchase, possess, transport, transfer or sell. MD Code, Criminal Law, § 4-303
And Maryland law tightly regulates the types of handguns that may be sold by subjecting such
sales to regulations published by the Maryland Handgun Roster Board. 1988 Maryland Laws, ch
533, MD Code, Public Safety, § 5-404. See Halliday v. Sturm, Ruger & Co., Inc., 368 Md. 186}
204, 792 A.2d 1145 (2002); Moore v. State, 84 Md.App. 165, 174, 578 A.2d 304 (1990).

Most recently, with the enactment of House Bill 4 over the Governor veto, the General
Assembly has also strictly regulated the sales, rentals and transfers of ordinary long guns. See 2021

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Maryland Laws, ch. 35. As noted, that 2021 legislation enacted MD Code, Public Safety, § 5-
207(a), which “preempts the right of any local jurisdiction to regulate the transfer of a rifle or
shotgun.” That legislation established extensive regulation over the private sales, rentals and
transfers of long guns, including amendments to MD Code, Public Safety, §§ 5-201, 204.1, and 5,
207. It also enacted a provision, in Section 2, that made clear that the regulation of transfers
imposed by the legislation “does not include the temporary gratuitous exchange of a rifle oy
shotgun,” and expressly exempted sales, rentals, or transfers between “immediate family members
and any sale, rental or transfer involving a FFL or a Maryland firearms dealer.> MD Code, Publica
Safety, § 5-204.1(a)(1)(i),(ii). These express exclusions were for the purpose of leaving such
transactions unregulated. In short, the County’s attempt to impose County-wide regulation over
the sale, transfer, possession and transport of all firearms has been impliedly preempted by this
complex and comprehensive system of State law.

Cc. Bill 4-21 Is “Inconsistent” With Other Maryland Statutes.

Even apart from express and implied preemption, the Complaint (40) details the multitude
of ways in which Bill 4-21 is inconsistent or in conflict with general law. That discussion is
incorporated herein by reference. Perhaps the most egregious conflict is the Bill’s attempt to ban

the mere possession of unserialized firearms manufactured for personal use and otherwise lawfully

 

> “Immediate family members is broadly defined to include “a spouse, a parent, a stepparent, 4
grandparent, a stepgrandparent, an aunt, an uncle, a sibling, a stepsibling, a child, a stepchild, 4
grandchild, a stepgrandchild, a niece, or a nephew, as related by blood or marriage” and “licensee”
is defined to mean “a person who holds a dealer’s license.” MD Code, Public Safety, § 5-201(c),
(d).

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possessed in the home. As noted, Bill 4-21 bans possession of a firearm (any firearm) within 100
yards of the County’s illegally expanded “place of public assembly.” As thus defined, this bar
literally extends to literally tens of thousands of homes within 100 yards of Bill 4-21’s newly,
defined and illegally expanded “place of public assembly.”

That broad coverage of the home was specifically intended by the County. Bill 4-21 retains
the prior law’s exception from this ban for “possession of a firearm or ammunition” in the home|
but then amends that prior law to specifically ban possession of “a ghost gun” in the home. This
ban on otherwise lawfully possessed firearms in the home is “inconsistent with” MD Code|
Criminal Law, § 4-203(b)(6), which expressly permits “the wearing, carrying, or transporting of 4
handgun by a person on real estate that the person owns or leases or where the person resides...’
See Complaint [40 j. That provision in Section 4-203(b)(6) is not in any way limited and thus
includes unserialized firearms otherwise lawfully possessed by the homeowner. Quitd
intentionally, State law likewise does not regulate the possession of long guns in the home.

The County’s ban on the possession of a type of otherwise lawful firearm in the home alsa
raises profound Second Amendment questions under District of Columbia v. Heller, 554 U.S. 570
(2008), and McDonald v. Chicago, 561 U.S. 742, 750 (2010). The Second Amendment “elevates
above all other interests the right of law-abiding, responsible citizens to use arms in defense off
hearth and home.” Heller, 554 U.S. at 635. See also Caetano v. Massachusetts, 577 US. 411
(2016) (summarily reversing Massachusetts’ highest court for failing to follow the reasoning of
Heller in sustaining a state ban on stun guns); Ramirez v. Commonwealth, 479 Mass. 331, 332
352 (2017) (on remand from Caetano, holding that “the absolute prohibition against civilian
possession of stun guns under § 131J is in violation of the Second Amendment” and declaring tha

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State’s absolute ban to be “facially invalid”); Defense Distributed v. Dept. of State, 121 F.Supp.3d
680, 699 (W.D. Tex. 2015), aff'd. 838 F.3d 451 (5th Cir. 2016), cert. denied, 138 S.Ct. 638 (2018
(sustaining a regulation of 3-D printed guns under the Second Amendment because plaintiffs werd
“not prohibited from manufacturing their own firearms”). Nothing in the Section 4-209(b)
exception provisions permits County regulation of firearm possession in the home. The exception
provisions of Section 4-209(b) should be construed narrowly so to avoid these constitutional issued.
See, e.g., Koshko v. Haining, 398 Md. 404, 425-27, 921 A.2d 171 (2007) (a statute is construed ta
avoid conflict with the Constitution wherever it is possible to do so, even to the extent of applying
a judicial gloss to interpretation that skirts a constitutional confrontation).

Another egregious example of overreach is the Bill’s regulation of businesses, such as
operated by plaintiffs Engage and ICE Firearms. As with homes, the vastly redefined “place of
public assembly” extends the County’s regulation to literally most, if not all, businesses through
the entire County, viz., either they are such places or they are within 100 yards of such places. Bil
4-21 provides that the bans it otherwise imposes do not “apply to the possession of one firearm
and ammunition for the firearm, at a business by either the owner who has a permit to carry tha
firearm, or one authorized employee of the business who has a permit to carry the firearm.” This
exception would permit the business owner to possess of one firearm, but only if the owner has 4
carry permit. Yet, Bill 4-21’s requirement that the owner must have “a permit to carry the firearm’
is inconsistent with MD Code, Criminal Law, § 4-203(b)(6), which expressly allows “the wearing
carrying, or transporting of a handgun by a person . . . within the confines of a business
establishment that the person owns or leases.” Such persons are not required to possess or obtain
a Maryland carry permit. Bill 4-21’s limitation to possession of “one” firearm by the owner ig

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likewise inconsistent with Section 4-203(b)(6), as that section imposes no limitation on the number
of handguns that may be possessed, worn, carried or transported under this provision of Section 44
203(b)(6). See Complaint 740 k.

Similarly, Bill 4-21 imposes the same, “one gun” and carry permit requirements on
authorized employees of a business, providing that the bans it otherwise imposes do not “apply td
the possession of one firearm, and ammunition for the firearm, at a business by ... one authorized
employee of the business who has a permit to carry the firearm.” Yet, MD Code, Criminal Law, §
4-203(b)(7), expressly permits “the wearing, carrying, or transporting of a handgun by 4
supervisory employee: (i) in the course of employment; (ii) within the confines of the businesg
establishment in which the supervisory employee is employed; and (iii) when so authorized by the
owner or manager of the business establishment.” Such authorized employees covered by Section
4-203(b)(7) are not required to possess or obtain a Maryland carry permit to carry within the
business confines of the employer’s business. Bill 4-21’s limitation to possession of “one” firearm
by “one” authorized employee is likewise inconsistent with Section 4-203(b)(7), as that section
imposes no limitation on the number of employees or on the number of handguns or ammunition
that may be possessed, worn, carried or transported.

Bill 4-21’s total ban on the “transport” of a “ghost gun” is also inconsistent with MD Code
Criminal Law, § 4-203(b)(5), which expressly permits “the moving by a bona fide gun collector
of part or all of the collector’s gun collection from place to place for public or private exhibition
if each handgun is unloaded and carried in an enclosed case or an enclosed holster.” Such transport
and carriage of unloaded rifles and shotguns, including unserialized rifles and shotguns, ard
permitted under Maryland law without restriction. Not by coincidence, all these provisions of

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Section 4-203 were enacted in 1972 as part of the legislation that included the preemption
provisions applied in Atlantic Guns. See Atlantic Guns, 302 Md. at 544-45 (discussing these
provisions).

Indeed, because Bill 4-21 effectively bans (through its vast definition of a “place of publia
assembly”) the sale, transfer, possession or transport of any and all firearms and major components
throughout the entire County, the only place that a resident of the County could even possess
firearms (any firearm) would be in the home or in one of the other very limited places of
circumstances that fall within the other exceptions set forth in Section 57-1 1(b) of the County Coda.
One such exception allows the possession of “separate ammunition or an unloaded firearm,” but
the list of exceptions does not mention or allow the possession of a loaded firearm outside tha
home, including such possession at a range or while engaging in otherwise lawful hunting. Such q
broad ban on loaded firearms is flatly contrary to Section 4-209(d)(2), which provides that “[a]
county, municipal corporation, or special taxing district may not prohibit the discharge of firearms
at established ranges.” Montgomery County has several such ranges, including the Gilbert Indoon
Range in Rockville, Maryland, https://bit.ly/3zqfqn1, and the Izaak Walton League-Rockvilla
Chapter range in Germantown, Maryland. https://bit.ly/2Sokwjg. Another such range can be found
at the Bethesda-Chevy Chase Chapter of the Izaak Walton League in Poolesville, Maryland
http://beciwla.org/, And nothing in the text or structure of Section 4-209 suggests that Section 4-

209(b) was intended to allow the County to ban hunting with firearms, County-wide.

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D. Bill 4-21’s Regulation Of Minors Conflicts With
State Law And Is Unconstitutionally Overbroad.

The State also closely regulates the access to firearms by minors in ways that are
inconsistent with Bill 4-21. Specifically, Bill 4-21 provides that a person “must not give, sell, rent
lend or otherwise transfer to a minor” (defined as a person under the age of 18), “a ghost gun or 4
major component of a ghost gun,” providing further that a person may not even “purchase, sell
transfer, possess, or transfer® a ghost gun . . . in the presence of a minor.” (Emphasis added)
These matters are regulated by State law. Under MD Code, Public Safety, § 5-133(d)(2)(i), a
person under the age of 21 may possess and transfer a regulated firearm if he or she is under the
supervision of a parent, or another person at least 21 years old, or if participating in marksmanship
training under the supervision of a qualified instructors. Such qualified instructors would include
plaintiffs Ronald and Nancy David, Complaint {f{ 33, 34, and many MSI members, Complaint 4
24. Bill 4-21 also extends its bans to a “slide” or “cylinder” or “barrel” of an unserialized firearm!
Under Bill 4-21, parents, instructors and others are criminalized if they give instruction using an
unserialized firearm, or merely possess, sell, purchase or transfer such a firearm, or the components

of such a firearm, in the mere “presence” of the person under the age of 18. These provisions of

 

6 As it apparent, the language of Bill 4-21 bans “transfer” twice over. Perhaps the County meant
to ban “transport” as well as “transfer,” but such a ban on “transport” is not found in this section
of Bill 4-21. Even assuming that this dual reference to “transfer” is a “scrivener’s error,” basid
principles of notice and due process mean that such an error in a criminal statute can only be
corrected by the legislature itself, and not by a reviewing court. See, e.g, United States v. X-
Citement Video, Inc., 513 U.S. 64, 82 (1994) (Scalia, J., concurring). In any event, the error makes
no difference to the result sought here.

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Bill 4-21 are “inconsistent” with Section 5-133(d)(2)(i) within the meaning of the Express Powers
Act, as they prohibit conduct that is expressly permitted by State law.

Similarly, MD Code, Criminal Law, § 4-104(b)(1), expressly permits a minor child under
the age of 16 to have access to any firearm if that access “is supervised by an individual at least 18
years old” or if the minor child under the age of 16 has a certificate of firearm and hunter safety
issued under § 10-301.1 of the Natural Resources Article. See Complaint J 17. In conflict with
these provisions, County law, as amended by Bill 4-21, provides that a person must not store of
leave “a ghost gun . . . or a major component of a ghost gun in a location that the person knows o1
should know is accessible to a minor.” No exception is made for access supervised by a parent of
for access by a minor who possesses a hunter safety certificate. Indeed, under the County’s law]
no person under the age of 18 may have any access to any firearm, or a “major component” of a
firearm, unless it is under the supervision of a parent, guardian or an instructor over 18. Such a ban
effectively kills youth hunting expressly promoted by State law. Maryland law accords “a 1-year
gratis hunting license to a Maryland resident under the age of 16 years who has successfully,
completed a hunter safety course,” MD Code Nat. Resources §10-301.1(f)(1). Once again, County
law prohibits conduct expressly permitted by State law.

The County’s ban on the “purchase, sell, transfer, possess, or transfer a ghost gun... in
the presence of a minor” also goes too far under the text of Section 4-209. Subsection 4-209(b)
allows a locality to “regulate the purchase, sale, transfer, ownership, possession, and transportation
of the items listed in subsection (a) of this section: (i) with respect to minors.” That language
cannot be reasonably read to permit the County to regulate activities of adults (including parents)
in the mere “presence” of a minor. Rather, these “minor” provisions of Section 4-209(b) are best

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understood to allow localities regulate unsupervised access by minors. The Attorney General hag
construed Section 4-209(b) in precisely this manner. See 76 Op. Att’y 240, 247 (1991) (opining
that Section 4-209(b) allows local regulation “dealing with minors’ access to firearms’’)
(Emphasis added). As the Attorney General also notes, the legislative history of Section 4-209(b
is consistent with that limited reading. See id. at 245 (noting that the Governor Hughes wanted td
preserve local regulations that made it unlawful for “a person under 21 fo purchase, trade, acquired
or possess certain weapons except under certain circumstances,” as well as a county law that
related to “the transfer of weapons to minors”). (Emphasis added). In regulating adult activities in
the mere presence of minors, Bill 4-21 once again goes too far and is thus contrary to the
preemption provisions of Section 4-209(a).

Indeed, by regulating what an adult parent may do in the “presence” of his or her child.
Bill 4-21 imposes an unconstitutional restraint on the rights of parents to parent their children. In
Troxel v. Granville, 530 U.S. 57, 64 (2000), Justice O’Connor, speaking for a plurality of thd
Supreme Court, summarized a long line of holdings, stating that parents have fundamental liberty
interest protected by the Constitution “in the care, custody, and control of their children.” In Frasd
v. Barnhart, 379 Md. 100, 124, 840 A.2d 114 (2003), the Court of Appeals applied Toxel broadly
stating “[a]ithough Troxel happened to involve a visitation dispute, there is nothing in any of thd
Opinions announcing or concurring in the judgment to suggest that the Constitutional proscription
against State interference with a fit parent’s right to make basic decisions for his/her child is limited
to issues of visitation, and, indeed, the cases relied on by the various Justices involved other areas
of interference as well.” In Koshko v. Haining, 398 Md. 404, 422-27, 921 A.2d 171 (2007), the
Court of Appeals applied Troxel and construed a Maryland statute in such a way as “to save the

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statute from invalidation” facially, but then invalidated the statute on an as-applied basis on the
particular facts presented in that case. As Koshko states, parents “are invested with the fundamenta
right . . . to direct and control the upbringing of their children.” Koshko, 398 Md. at 422-23.

These constitutional considerations apply here. Parents of minor children, such a plaintiffs
Raymond and Weaver (Complaint [{ 27, 30), have a constitutional right, recognized in Troxel
Frase and Koshko, to direct and control the upbringing of their children. That right includes the
right to teach their children about firearms, including the right to instruct in the assembly of firearm
components and otherwise possess firearms in the presence of their children. Under Troxel, Frase
and Koshko, the County simply may not constitutionally bar a minor’s access to firearms or tq
“major components” of firearms when such access is supervised by a parent or by another person
authorized by a parent. Parents have every right, recognized by MD Code, Criminal Law, § 44
104(6)(1), to give their children access if “the child's access to a firearm is supervised by an
individual at least 18 years old.” Similarly, parents have every right, recognized by MD Code!
Public Safety, § 5-133(d)(2)(i), to allow instructors, such as plaintiffs Edgar, ICE Firearms, and
Ronald and Nancy David (Complaint {J 30-34), to instruct children in the use of firearms. The
constitutional rights of parents. “to direct and control the upbringing of their children,” Koshko
398 Md. at 422-23, mandate a narrow interpretation of the County’s authority to enact ordinanceg
under Section 4-209(b). As in Koshko, this Court should construe the scope of Section 4-209(b) ta
save it from facial invalidity and invalidate its application in Bill 4-21.

The County’s unconstitutional overreach is especially evident with respect to “major
components,” which Bill 4-21 defines to include a slide, a cylinder or a barrel of ordinary firearms
Bill 4-21 provides that a “person must not give, sell, rent, lend, or otherwise transfer to a minor’ 4

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“major component of a ghost gun.” Yet, the slide, cylinder and a barrel are not firearms and are
not required to be serialized under Federal law. Such components are also common both ta
unserialized “ghost guns” and ordinary serialized guns, including firearms legally manufactured
by federally licensed manufacturer and lawfully purchased from a FFL and a licensed Maryland
firearms dealer. For these specific items, the Bill’s special treatment of ghost gun “components’
is nonsensical, as it wrongly assumes that “ghost gun” components are somehow different thar
non-ghost gun components. That is only true with respect to actual receivers, as only receivers
are firearms under Federal and State law, Complaint {J 9, 10, and only receivers are required ta
be serialized under Federal and State law. Complaint J 11.

Similarly nonsensical and unconstitutional is Bill 4-21’s regulation of “unfinished
receivers,” which Bill 4-21 includes within its definition of a “ghost gun.” While Section 4-209(b)
allows the County to regulate “components” of firearms with respect to minors, it does not allow
the County to regulate non-components of firearms, such as “unfinished receivers.” Certainly}
nothing in Section 4-209(b) allows the County to regulate access to components when access ig
supervised by a parent. As explained, to the extent that an “unfinished receiver” is not yet an actua
“receiver,” is not a firearm or even a “component” of a firearm. It is simply a chunk of metal o1
plastic. Bill 4-21 would thus criminalize adult possession of, and minor access to, pieces of meta
or plastic. The total bans imposed by Bill 4-21 on such “unfinished receivers” with respect td
minors thus is both legal nonsense and unconstitutional under Troxel. As discussed infra, for these

same reasons, Bill 4-21’s ban on “unfinished receivers” is also both an oxymoron and hopelessly

vague.

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IV. BILL 4-21 IS NOT A “LOCAL LAW” AND THUS VIOLATES
ARTICLE XI-A OF THE MARYLAND CONSTITUTION.

Summary judgment is also appropriate under Count I of the Complaint. Complaint Jf 36-
39. Montgomery County has chartered home rule under Article XI-A of the Maryland Constitution
and, under that provision, the County is only empowered to enact “local laws.” Section 4 of Articla
XI-A of the Maryland Constitution states that “[a]ny law so drawn as to apply to two or more of
the geographical subdivisions of this State shall not be deemed a Local Law, within the meaning
of this Act.” See also Article XI-E, § 6, of the Maryland Constitution provides that “[a]ll charter
provisions, or amendments thereto, adopted under the provisions of this Article, shall be subject
to all applicable laws enacted by the General Assembly.”

Under Maryland law, a general law “deals with the general public welfare, a subject which
is of significant interest not just to any one county, but rather to more than one geographical
subdivision, or even to the entire state.” Steimel v. Board, 278 Md. 1, 5, 357 A.2d 386 (1976)
Thus, “some statutes, local in form, have been held to be general laws, since they affect the interest
of the whole state.” Cole v. Secretary of State, 249 Md. 425, 434, 240 A.2d 272 (1968). Similarly
“[a] law may be local in the sense that it operates only within a limited area, but general in so fat
as it affects the rights of persons without the area to carry on a business or to do the work incident
to a trade, profession, or other calling within the area.” Dasch v. Jackson, 170 Md. 251, 261, 183
A. 534 (1936).

Bill 4-21 is not a “local law” under these principles. Bill 4-21 was touted as a “ghost gun’
bill, but this Bill obviously regulates all firearms with its requirement that “a person must not sell
transfer, possess, or transport a ghost gun, undetectable gun, handgun, rifle, or shotgun, o1
ammunition or major component for these firearms” anywhere within 100 yards of the Bill’s vast

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and unlawful definition of a “place of public assembly.” As the discussion above demonstrates,
the reach of this Bill is breathtakingly broad for all these firearms, not just for so-called “ghost
guns.”

It is equally beyond obvious that the regulation of firearms in Maryland is a matter of
“significant interest . . . to more than one geographical subdivision, or even to the entire state.
Steimel, 278 Md. at 5. The numerous preemption provisions and comprehensive State regulatory
schemes detailed above cannot be read in any way other than as an embodiment of the Genera
Assembly’s recognition that localities should not be enacting regulations that broadly affect thd
possession, sale, transport or transfer of firearms. As the federal district court in Mora stated, “therd
can be no doubt that the exceptions to otherwise blanket preemption [in Section 4-209] are narrow
and strictly construable” and that “State law has so thoroughly and pervasively covered the subject
of firearms regulation and the subject so demands uniform state treatment, that any non-specified
regulation by local governments is clearly preempted.” Mora, 462 F. Supp.2d at 690. Stated simply
firearm regulations “affect the interest of the whole state.” Cole, 249 Md. at 434.

A simple example suffices to illustrate the point. As noted, Bill 4-21 bans the “transport,”
the sale, the possession and the “transfer” of a “major component” of any firearm and defines
“major component” to mean “(1) the slide or cylinder or the frame or receiver; and (2) in the case
of a rifle or shotgun, the barrel.” However, as discussed above, both federal law and Maryland law
regulate as firearms only the “receiver” of a firearm. Complaint [J 9, 10. The other “components’
banned by Bill 4-21 are not required to be serialized under either State or Federal law and are not
“firearms.” Complaint §11. The “slide” or “cylinder” or “barrel” of a firearm are unregulated and
thus may be (and currently are) possessed, transported, transferred and sold freely within all parts

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of Maryland, including Montgomery County, in interstate and intrastate commerce. Yet, Bill 4-21
would criminalize all this interstate and intrastate commerce in these items. The only persons wha
would be allowed even to possess these components in Montgomery County would be those few
individuals who are excepted under Section 57-11(b) of the County Code, as amended by Bill 44
21, viz., police, security guards and carry permit holders. Under Bill 4-21, not even Federal
Firearms Licensees and State firearms dealers (such as Engage) are allowed to possess thesq
components. A typical resident of Montgomery County would be prohibited from purchasing 4
new or replacement “slide,” “cylinder” or “barrel” outside the County and transporting of
possessing any of these components in the County.

Bill 4-21 also bans the mere possession in the home of these otherwise non-regulated
components. Section 57-11 of the County Code generally exempts from its regulatory reach thd
mere possession of an actual “firearm” in “the person’s own home.” But, as explained, the “slide”
or “cylinder” or “barrel” are not “firearms” under State and Federal law. Accordingly, if the
homeowner were to disassemble his or her firearm into these “components” or obtain replacement
“components” for his firearm, that homeowner would then be guilty of a crime under Bill 4-21 by,
virtue of the mere possession of these components. Such disassembly is exceedingly common ag
it is necessary in order to clean an ordinary, lawfully owned pistol that every otherwise qualified
American has a Second Amendment right to possess in the home under Heller and McDonald.
Replacement or substitution of parts, including barrels and slides, is likewise common
Criminalizing possession of components is thus legally indefensible, but that result is compelled
by the literal language of Bill 4-21. This example demonstrates why the General Assembly ig
correct in preempting counties from regulating firearms: Localities, perhaps acting out of

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with or without an apprentice did every part of the work.” 1 Charles Winthrop Sawyer.

 

 

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misplaced zeal or ideology, simply lack the detailed knowledge of firearms and the understanding
of complex Federal and State firearms law necessary to regulate intelligently.

Even if Bill 4-21 could somehow be viewed as limited to “ghost guns,” it still would not
be a “local law” under the Maryland Constitution. As the foregoing discussion demonstrates, this
subject matter is rife with complexity and competing values. Law-abiding citizens have beer]
building their own firearms for personal use for centuries and doing so completely lawfully
Complaint JJ 8, lla.’ The Maryland General Assembly has thus struggled repeatedly with
competing considerations over the last three legislative sessions, seeking to formulate a state-wide
approach to “ghost guns.” See Complaint 718.

There is no doubt that these efforts by the General Assembly will continue and may wel
change in light of the rulemaking proceedings currently underway by the Department of Justice
and the ATF. Id. 19. That DOJ/ATF proposal would define “receivers” differently and regulate

manufacturers and FFLs, but it also recognizes the right of individuals to build home-made gung

 

7 See Mark A. Tallman, GHOST GUNS, Hobbyists, Hackers, and the Homemade Weapons
Revolution, chapter 2 (2020). As historian Charles Winthrop Sawyer explained, “in the smaller
shops which formed the great majority—mere cabins on the outskirts of the wilderness—one mar

FIREARMS IN AMERICAN HISTORY 145 (1910). Moreover, many gunsmiths worked
primarily in other trades and built or repaired firearms as a hobby. See James Whisker, THE
GUNSMITH’S TRADE 145-63 (1992). During the Revolutionary War, many colonies relied on
and incentivized people outside of the firearms industry to produce fifearms. For example, on
August 2, 1775, a Committee appointed by Maryland’s Provincial Convention “to enquire into tha
practicability of establishing a manufactory of Arms within this Province” determined that “Armg
may be furnished sooner, and at less expense by engaging immediately all Gun Smiths, and others
concerned in carrying on that business.” Journal of the Maryland Convention July 26 — August 14
1775, at 64-65 (William Hand Browne ed. 1892).

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and thus does not seck to regulate individuals in their possession or manufacture of firearms fot
personal use. The DOJ/ATF proposal does not ban or regulate the continued possession by
individuals of previously lawfully constructed firearms in any way. (Id.). If, as seems likely, soma
version of the DOJ/ATF proposed rule goes into effect, that rule could dramatically affect thd
availability of “ghost guns” in the marketplace. Such a rule could easily affect the regulatory,
approaches that the General Assembly might take. Bill 4-21 will undoubtedly conflict with such
State-wide legislative approaches.

In particular, the Maryland legislature has looked to California, which has developed 4
system allowing owners to engrave serial numbers on their firearms made for personal use without
banning possession or criminalizing owners. See California Penal Code §§ 29180-29184. In 2019
the Maryland House of Delegates ordered research on this approach in a bill (House Bill 740) that
passed the House of Delegates. See Complaint 18, 37. Similarly, and most recently, in the 2021
legislative session, the House Judiciary Committee reported a bill to the floor that would have
accorded existing owners of unserialized firearms a path to retention of these firearms in a manner
akin to that adopted by California. Complaint § 18. In stark contrast, Bill 4-21 attempts to broadly,
criminalize everything about “ghost guns,” including their owners. If Montgomery County ig
allowed to enact Bill 4-21 with impunity, then other counties and other localities may well follow
suit, with still different approaches. The result will be a conflicting hodgepodge of local regulations
that would ensnare otherwise law-abiding citizens traveling through the State. See Dasch, 170 Md
at 261. In light of this history and these practical realities, there can be no doubt that “ghost guns’
are a matter of state-wide and national interest. No more is required to invalidate Bill 4-21. Steimel

278 Md. at 5; Cole, 249 Md. at 434.

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V. BILL 4-21 IS SO VAGUE THAT IT VIOLATES DUE PROCESS.

Partial summary judgment as to liability is also appropriate on Count IV of the Complaint.
See Complaint J 51-66. As Count IV details, Bill 4-21 is so impossibly vague in imposing
criminal penalties that it violates the Due Process Clause of the Fourteenth Amendment to the
United States Constitution and Article 24 of the Maryland Declaration of Rights. While plaintiffs
also seek compensatory, nominal and punitive damages and attorney’s fees under Count IV
declaratory and injunctive relief is appropriate now. Such relief will likely limit the amount of
damages that plaintiffs will otherwise suffer if Bill 4-21 goes into effect.

A. The Due Process Clause of the Fourteenth Amendment And Article 24

Of the Maryland Declaration of Rights Preclude Enactment Or
Enforcement Of Vague Penal Statutes.

The Due Process Clause of the Fourteenth Amendment prohibits the enactment ot
enforcement of vague legislation. Sessions v. Dimaya, 138 S.Ct. 1204, 1212 (2018) (“the
prohibition of vagueness in criminal statutes...is an ‘essential’ of due process, required by both
‘ordinary notions of fair play and the settled rules of law”). A penal statute must “define the
criminal offense with sufficient definiteness that ordinary people can understand what conduct ig
prohibited and in a manner that does not encourage arbitrary and discriminatory enforcement.’
Kolender v. Lawson, 461 U.S. 352, 357 (1983). “[A] vague law is no law at all.” United States v
Davis, 139 S. Ct. 2319, 2323 (2019). See also Grayned v. City of Rockford, 408 U.S. 104, 108-109
(1972) (“A vague law impermissibly delegates basic policy matters to policemen, judges, and
juries for resolution on an ad hoc and subjective basis”): Giovani Carandola, Ltd. v. Fox, 470 F.3d
1074, 1079 (4th Cir. 2006) (recognizing that “[a] statute is impermissibly vague if it either (1) fails
to provide people of ordinary intelligence a reasonable opportunity to understand what conduct if

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prohibits or (2) authorizes or even encourages arbitrary and discriminatory enforcement” (interna
quotations omitted)).

Such a statute need not be vague in all possible applications in order to be void for
vagueness under the Due Process Clause. Johnson v. United States, 576 U.S. 591, 602 (2015) (“our
holdings squarely contradict the theory that a vague provision is constitutional merely because
there is some conduct that clearly falls within the provision’s grasp”). “Johnson made clear that
our decisions “squarely contradict the theory that a vague provision is constitutional merely
because there is some conduct that clearly falls within the provision’s grasp.” Dimaya, 138 S.Ct
at 1214n.3. A court also “cannot construe a criminal statute on the assumption that the Government
will use it responsibly,” United States v. Stevens, 559 U.S. 460, 480 (2010), and “cannot find clarity
in a wholly ambiguous statute simply by relying on the benevolence or good faith of those
enforcing it.” Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1322 (11th Cir. 2017) (en banc).

Article 24 of the Maryland Declaration of Rights likewise prohibits the enactment o1
enforcement of vague legislation. Galloway v. State, 365 Md. 599, 614, 781 A.2d 851 (2001) (“The
void-for vagueness doctrine as applied to the analysis of penal statutes requires that the statute be
‘sufficiently explicit to inform those who are subject to it what conduct on their part will rended
them liable to its penalties.’”) (citation omitted). Under Article 24, a statute must provide “legally
fixed standards and adequate guidelines for police ... and others whose obligation it is to enforce]
apply, and administer [it]” and “must eschew arbitrary enforcement in addition to being intelligibla
to the reasonable person.” (Id. at 615). Under this test, a statute must be struck down if it is “’sq

broad as to be susceptible to irrational and selective patterns of enforcement.’” (Id. at 616, quoting

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Bowers v. State, 283 Md. 115, 122, 389 A.2d 341 (1978)). See also Ashton v. Brown, 339 Md. 70
89, 660 A.2d 447 (1995); In Re Leroy T., 285 Md. 508, 403 A.2d 1226 (1979).

Bill 4-21 is a penal statute. A violation of Bill 4-21 is a Class A violation that can result in
a criminal fine and up to six months imprisonment for each day in which the violation continues
Complaint {7. Bill 4-21 contains no mens rea requirement of any type and thus these punishments
may be imposed without regard to a defendant’s intent or knowledge. Such a law is particularly
open to facial attack. For example, in the City of Chicago v. Morales, 527 U.S. 41, 54 (1999), the
Supreme Court invalidated on vagueness grounds a Chicago ordinance that banned loitering
noting that “the freedom to loiter for innocent purposes is part of the ‘liberty’ protected by the Due
Process Clause.” Morales, 527 U.S. at 53. The Court found highly significant that the ordinance
was a “criminal law that contains no mens rea requirement” and concluded “[w]hen vagueness
permeates the text of such a law, it is subject to facial attack.” Id. at 55.

B. Bill 4-21 Is Unconstitutionally Vague.

Bill 4-21’s vague, strict liability provisions are facially invalid for the same reasong
Chicago’s law was found facially invalid in Morales. As explained above, Bill 4-21 affects and
chills plaintiffs’ Second Amendment right to possess firearms in the home. Under McDonald, that
Second Amendment right is “fundamental” and thus incorporated against the State under the Dua
Process Clause of the Fourteenth Amendment. McDonald, 561 U.S. at 778 (“the Framers and
ratifiers of the Fourteenth Amendment counted the right to keep and bear arms among those
fundamental rights necessary to our system of ordered liberty”). See Galloway, 365 Md. at 616

(“If the challenged statute . . . encroaches upon fundamental constitutional rights . . . then the

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statute should be scrutinized for vagueness on its face.”).° Bill 4-21 also is contrary to plaintiffs’
fundamental Maryland constitutional right to be free of general laws enacted by the County. The
Bill encroaches on plaintiffs’ right to control the upbringing of their minor children, a fundamental
right protected by the Due Process Clause. In a multitude of ways, Bill 4-21 also chills plaintiffs’
ability to otherwise enjoy their statutory rights to lawfully possess, transfer, sell and transport
firearms in a manner expressly preserved and protected by State law. See also City of Los Angeles
v. Patel, 576 U.S. 409, 415 (2015) (noting that “the Court has allowed such [facial] challenges td
proceed under a diverse array of constitutional provisions,” including the Due Process Clause, the
First Amendment and the Second Amendment and, in Patel, allowing a facial challenge to be
brought under the Fourth Amendment). At minimum, Bill 4-21 must be struck down as applied tq
these plaintiffs.

As.Morales stresses, a mens rea requirement is especially critical to the question of facial
validity under the Due Process Clause. See also Hill v. Colorado, 530 U.S. 703, 732 (2000)
(stressing the importance of “a scienter requirement” in a vagueness challenge). The Supremd
Court has repeatedly stressed the importance of mens rea in addressing federal firearms law. See]
e.g., Rehaifv. United States, 139 S.Ct. 2191, 2196 (2019) (noting “a basic principle that underlies
the criminal law, namely, the importance of showing what Blackstone called ‘a vicious will’”);

Staples v. United States, 511 U.S. 600, 610-11 (1994) (imposing a mens rea requirement for the

 

® The Supreme Court recently agreed to decide whether the Second Amendment right to keep and
bear arms extends outside the home. See NYSRPA v. Corlett, --- S.Ct. ----, 2021 WL 1602643
(April 26, 2021). Numerous aspects of Bill 4-21 apply outside the home.

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illegal possession of a machine gun, noting that “there is a long tradition of widespread lawful gun
ownership by private individuals in this country,” and explaining that “despite their potential for
harm, guns generally can be owned in perfect innocence”). Bill 4-21 has no such mens rea o1
scienter requirement and thus criminalizes conduct and activities regardless of intent or knowledga
of a person. Bill 4-21’s vagueness, coupled with the total absence of any mens rea requirement,
renders Bill 4-21 facially invalid.

Vagueness permeates nearly all aspects of Bill 4-21. Again, the Bill criminally punishes
conduct that takes place within 100 yards of “a place of public assembly,” which is defined as “4
place where the public may assemble, whether the place is publicly or privately owned.” Such
places include, but are not limited to, “a park; place of worship; school; library; recreationa
facility; hospital; community health center; long-term facility; or multipurpose exhibition facility]
such as a fairgrounds or conference center.” Bill 4-21 includes within these places “all property
associated with the place, such as a parking lot or grounds of a building.” Virtually all of these
provisions are fatally vague.

Bill 4-21 does not define “public,” and that term could be read to include any person whd
may be present in Montgomery County for any reason. See https://bit.ly/3iuzjDD (defining “public
to mean “of or relating to people in general”). Most critically, Bill 4-21 does not define “may,
assemble,” but the text of Bill 4-21 makes clear that the term broadly extends to places regardless
of “whether the place is publicly or privately owned.” The dictionary definition for “assemble’
includes “to bring together (as in a particular place or for a particular purpose)” and simply “ta
meet together.” https://bit.ly/3pFvFbm. The primary dictionary definition of “may” is that the term
is “used to indicate possibility or probability.” https://bit.ly/3iBwyjF. Thus, the term “may;

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assemble” could be read to include the mere possibility of a meeting of two or more people in any
place for any reason, presently or in the future, including for every-day activities such as lunch
By enlarging the ordinance to reach into places where the public “may assemble” and reaching
into private property, Bill 4-21 could be read to encompass every public sidewalk, street, Starbucks
restaurant and virtually any private building open to the public in any way in the entire County
Bill 4-21 fails to provide any notice of the actual location of such places and it is impossible ta
predict or know where two or more members of the “public” “may” possibly meet. These locationg
could even change in their application from day to day. Plaintiffs are thus left to guess at wherd
two or more members of the “public” “may assemble” on any given day. Fundamentally, the term
“may assemble” is “so broad as to be susceptible to irrational and selective patterns of enforcement
Galloway, 365 Md. at 616.

Other locales specified in Bill 4-21 are likewise hopelessly vague. Bill 4-21 bans conduct
taking place at or within 100 yards of a “library,” but includes no definition of “library.” Instead
Bill 4-21 made “library” extremely broad by deleting the statute’s former definition of “library’
as limited to a “public” library and then extending the reach of “library” even further so as td
encompass places regardless of “whether the place is publicly or privately owned.” The dictionary,
definition for a “library” includes not only “a place in which literary, musical, artistic, or referencd
materials (such as books, manuscripts, recordings, or films) are kept for use but not for sale.” but
also includes “a collection resembling or suggesting a library” and “a series of related books issued
by a publisher” and “a collection of publications on the same subject.” https://bit.ly/2U1Z6cd. The
term could thus be arguably read to include any collections of publications of any type or siza
regardless of whether the collection is in the home or private building. Plaintiffs are left to guess

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as to meaning of “library” and to further guess at present or future locations of any such “libraries.”

Again, the term “library” is “so broad as to be susceptible to irrational and selective patterns of

enforcement.’” Galloway, 365 Md. at 616.

Bill 4-21 bans conduct at or within 100 yards of a “recreational facility” but does not defind
the term. The bill does, however, make the term extremely broad by deleting the statute’s former
limitation to a “government-owned or operated” recreational facility and then extending that reach
even further to encompass private property. The term “recreational facility” is not found in
commonly used dictionaries, see, e.g., https://bit.ly/3vbR90W, and thus it could be arguably read
to include a backyard swing set or private playground or other “facility” where “recreation” may
take place. In this respect, “facility” simply could mean “something that makes an action, operation
or course of conduct easier” or “something . . . that is built, installed, or established to serve 4
particular purpose.” https://bit.ly/2Telezw. Similarly, Bill 4-21 adds to the statute’s preexisting
scope to include a “community health center” and “long-term facility,” but provides no definition
for either type of facility and there are no dictionary definitions for these terms. The term
“community health center” might be understood to include a hospital or clinic, but it could just as
well might include a private doctor’s office. The term “long-term facility” is even vaguer as it doeg

not even inform the reader of nature of the “long-term facility,” viz., long-term for what? It could

include, for example, a “long term” storage facility. Plaintiffs can only guess as to meaning of

these terms and their locations. Again, all these terms are “so broad as to be susceptible to irrationa
and selective patterns of enforcement.’” Galloway, 365 Md. at 616.

Bill 4-21 includes within its bans conduct and possession within 100 yards of a “school.’
Bill 4-21 does not define “school” but it does delete the statute’s former limitation to “elementary

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or secondary” school and then extends this term’s reach even further to encompass public and
private property. The dictionary definition of a “school” includes “an establishment offering
specialized instruction” such as “a secretarial school” or “driving schools.” https://bit.ly/3ziLj12
As thus redefined, Bill 4-21 arguably regulates at or within 100 yards of any “school” of any size
and of any type, private or public, including locations where any organization, of any type, may,
present instruction of any kind, including instruction to adults. The term “school” could ever
extend to the specialized firearms instruction offered by plaintiffs ICE Firearms and Ronald and
Nancy David, Complaint {J 32-34, as well as to any instruction offered by plaintiff Engage
(Complaint {| 26), or by plaintiff Weaver (Complaint { 30), or by MSI instructors (Complaint 4
24). Plaintiffs are left to guess as to the meaning of the term and further guess at the locations
encompassed by the term. Once again, the term is “so broad as to be susceptible to irrational and
selective patterns of enforcement.’” Galloway, 365 Md. at 616.

Bill 4-21 bans conduct at and within 100 yards of a “park,” but the Bill does not define
“park.” Bill 4-21 deliberately deleted the ordinance’s former definition of “park” as including only,
a “government owned” park that was “identified by the Maryland-National Capital Park and
Planning Commission.” The Bill extends this term’s reach even further to encompass public and
private property. The dictionary definition for “park” includes a wide variety of areas, including
“a tract of land that often includes lawns, woodland, and pasture attached to a country house and
is used as a game preserve and for recreation” or “a space occupied by military vehicles, materials
or animals.” https://bit.ly/355pBQa. Plaintiffs are left to guess as to the meaning and locations
encompassed within the Bill’s new and vague use of “park.” Once again, the term is “so broad ag
to be susceptible to irrational and selective patterns of enforcement.’” Galloway, 365 Md. at 616.

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The actual items subject to regulation under Bill 4-21 are likewise hopelessly vague. Bil
4-21 defines “ghost gun” to include “an unfinished receiver.” Bill 4-21 then purports to ban thd
sale, rental, lending or the giving of a ghost gun (defined to include an “unfinished receiver”) to a
minor or affording access to an “unfinished receiver” to a minor. Bill 4-21 also bans the sale
transfer, manufacture, assembly, possession or transport of a ghost gun (again, defined to includg
an “unfinished receiver”), including banning the mere possession of an unfinished receiver in thd
home. Yet, Bill 4-21 does not define “unfinished receiver.” As noted above, under Federal and
Maryland firearms law, an object is either a receiver or not a receiver — there is no such thing in
the law as an “unfinished receiver.” See ATF Firearms Technology Branch Technical Bulletin 144
01.° The term is an oxymoron. Unsurprisingly, there is no dictionary definition for the term
Conceivably, an “unfinished receiver” could even include a “zero percent” receiver, which is just
a solid block of aluminum, steel or polymer. Nothing in Federal law, even as proposed in tha
recently published Department of Justice and ATF rulemaking proceeding, remotely goes that far
Complaint { 19. Plaintiffs can only guess as to the meaning of “unfinished receiver” as used in
Bill 4-21.

Bill 4-21 broadly bans a “major component” of a firearm and defines the term “major
component” to include “the slide or cylinder” and, in the case of a rifle or shotgun, the “barrel.”
As explained above, none of these “major components” of a firearm (other than a receiver) is

actually a “firearm” under Federal or Maryland law. A “slide or cylinder” of a handgun and the

 

* See note 2, supra.
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“barrel” of a “rifle or shotgun” are lawfully obtained, possessed, transferred and transported in
interstate and intrastate commerce without restrictions under Federal and Maryland law. Such
“major components,” as thus defined by Bill 4-21, can be lawfully used to build a fully serialized
firearm for personal use, as only the receiver is required to be serialized under Federal and
Maryland law. Complaint 4 11. Thus, in defining a “ghost gun” to include these defined
“components” and then banning “ghost guns,” Bill 4-21 could be applied to criminalize mere
possession of a fully serialized firearm because banned “components” were used to build it. Again
Bill 4-21 contains no mens rea requirement. Plaintiffs are left to guess as to whether law
enforcement would consider such firearms to be illegal under Bill 4-21. Arbitrary or discriminatory
selective enforcement is virtually guaranteed.

In sum, Bill 4-21 is so vague that it fails “to inform those who are subject to it what conduct
on their part will render them liable to its penalties” and “is so broad as to be susceptible tq
irrational and selective patterns of enforcement.” Galloway, 356 Md. at 614-16. Bill 4-21
“impermissibly delegates basic policy matters to policemen, judges, and juries for resolution on
an ad hoc and subjective basis.” Grayned, 408 U.S. at 108-109. See also Ashton, 339 Md. at 89
(striking down a city ordinance that failed to define “bona fide”); In Re Leroy T., 285 Md. at 512-
13 (striking down a city ordinance that failed to define “commonly used”). Faced with such
vagueness “the role of courts under our Constitution is not to fashion a new, clearer law to take its
place, but to treat the law as a nullity and invite [the legislature] to try again.” Davis, 139 S.Ct. at

2323. Bill 4-21 must be struck down for vagueness.

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VI. PLAINTIFFS HAVE STANDING TO OBTAIN THE RELIEF REQUESTED.

There can be no doubt that plaintiffs have standing to bring this suit. Under Maryland law
standing to seek a declaratory judgment requires only that the plaintiffs satisfy the elements of MD
Code, Courts and Judicial Proceedings, § 3-409(a): “(1) An actual controversy exists between
contending parties; (2) Antagonistic claims are present between the parties involved which indicate
imminent and inevitable litigation; or (3) A party asserts a legal relation, status, right, or privileged
and this is challenged or denied by an adversary party, who also has or asserts a concrete interest
in it.” (Emphasis added). Any one of these three categories of harm are sufficient. The Court of
Appeals has thus interpreted this language to mean that a plaintiff need only establish that he or
she has suffered “some kind of special damage from such wrong differing in character and kind
from that suffered by the general public.” Voters Organized for the Integrity of City Elections v|
Baltimore City Elections Bd., 451 Md. 377, 396, 152 A.3d 827 (2017). See also Fraternal Order
of Police v. Montgomery Cty., 446 Md. 490, 506-07, 132 A.3d 311 (2016) (holding that a policed
union had standing to challenge the County’s use of public funds to defeat a referendum
concerning statute on collective bargaining because statute affected the scope of bargaining by the
union on behalf of its members).

All those elements are easily satisfied here. As detailed in the Complaint (J 24-34), each
of the individual plaintiffs and businesses face “a realistic danger of sustaining a direct injury as a
result of the [law’s] operation or enforcement.” Babbitt v. United Farm Workers Nat'l Union, 442
U.S. 289, 298 (1979); Skyline Wesleyan Church v. Cal. Dep't of Managed Health Care, 968 F.3d
738, 747-48 (9th Cir. 2020). Each of the individual plaintiffs, including the two businesses, hag
engaged and intends to engage in conduct arguably regulated by the provisions of Bill 4-21

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including the actual or constructive possession of firearms, major components and “unfinished
receivers.” At least one of the plaintiffs has a minor child in the household, engages in conduct
arguably prohibited by Bill 4-21 in the presence of minors, or may engage in firearm instruction
of minors. Complaint {J 24, 26, 27, 30, 31. MSI in particular is harmed by Bill 4-21 in a way
different from the general public as it submitted comments in opposition to Bill 4-21 and those
comments were ignored by the County. Indeed, the County even went so far as to exclude thosq
comments a part of the legislative packet made public by the County. Complaint J 25 and Exh. B
to the Complaint. That conduct is suggestive of bad faith on the part of the County.

Each of the individual plaintiffs and businesses is and will be chilled in the actions they
may take by the prospect of enforcement of Bill 4-21’s provisions. Each of the individual plaintiffs
is hindered or chilled in his or her right to live or work in Montgomery County or to otherwis¢
travel through Montgomery County by the threat of enforcement of the provisions of Bill 4-21
Each of the plaintiffs’ businesses likewise is and will be adversely affected in the manner in which
they conduct their businesses. Each of the individual plaintiffs and businesses has been harmed
and is imminently threatened with future harm by the prospect of enforcement of tha
unconstitutionally vague provisions of Bill 4-21. Complaint { 65. A declaratory judgment ig
appropriate if even “one plaintiff’ has standing. Voters Organized for the Integrity of City
Elections, 451 Md. at 398.

It is also clear that plaintiffs may bring a pre-enforcement action challenging Bill 4-21 as
they are not required “to risk criminal prosecution to determine the proper scope of regulation.’
Dombrowski v. Pfister, 380 U.S. 479, 487 (1965). See also Med/mmune, Inc. v. Genentech, Inc.|
549 U.S. 118, 128-29 (2007) (standing does “not require a plaintiff to expose himself to liability

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before bringing suit to challenge the basis for the threat—for example, the constitutionality of a
law threatened to be enforced”), Maryland law is in full accord. Pizza di Joey, LLC v. Mayor of
Baltimore, 470 Md. 308, 343-44, 235 A.3d 873 (2020) (collecting cases). As Justice Marshall once
explained, the inchoate threat of prosecution is like the sword of Damocles in that the value of
such a threat “is that it hangs -- not that it drops.” Arnett v. Kennedy, 416 U.S. 134, 231 (1974)
(Marshall, J., dissenting). See Reno v. ACLU, 521 U.S. 844, 882 (1997) (same).

The purpose of Maryland’s Declaratory Judgment Act is “to settle and afford relief from
uncertainty and insecurity with respect to rights, status, and other legal relations.” MD Code
Courts and Judicial Proceedings, § 3-402. That purpose fits this case perfectly. As a general rule
a declaratory judgment is mandatory, when otherwise properly requested. See, e.g., Post v.
Bregman, 349 Md. 142, 159-60, 707 A.2d 806 (1998) (“when an action for declaratory judgment
does clearly lie, as it did in this case, it is ordinarily not permissible for a court to avoid declaring
the rights of the parties by entering judgment on another pending count” and “[t]he existence of
another remedy, at law or in equity, does not ordinarily defeat a party’s right to seek and obtain J
declaratory judgment”); Christ by Christ v. Md. Dept. of Nat. Res., 335 Md. 427, 435, 644 A.2d
34 (1994) (“Where a controversy is appropriate for resolution by declaratory judgment, however
the trial court must render a declaratory judgment.”); Lovell Land, Inc. v. State Highway Admin
408 Md. 242, 256, 969 A.2d 284 (2009) (same).

Permanent injunctive relief is also appropriate as plaintiffs are substantially and irreparably
harmed by Bill 4-21 in ways that at not compensable through an award of damages. E/ Bey v|
Moorish Science Temple of America, Inc., 362 Md. 333, 355, 765 A.2d 132 (2001). As explained
above, the prospect of enforcement of the penal provisions of Bill 4-21, with its extremely vague

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and otherwise illegal provisions, will chill the lawful activities of plaintiffs, impair their
constitutional right to control the upbringing of their children, and to travel and conduct business
in Montgomery County. Maryland-Nat’l Capital Park and Planning Comm'n v. Washington Nat'l
Arena, 282 Md. 588, 615, 386 A.2d 1216 (1978) (“irreparable injury is suffered whenever
monetary damages are difficult to ascertain or are otherwise inadequate”), See also Ademiluyi v.
Egbuonu, 466 Md. 80, 133-34, 215 A.3d 329 (2019). The public interest is served, as a matter of
law, by enjoining the unconstitutional and ultra vires actions of the County. See, e.g., Legend Nighi
Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011) (“upholding constitutional rights is in the publia
interest”).

Plaintiffs expressly reserve the right to seek compensatory damages and equitable relief
under Count III (Takings claim). Pursuant to 42 U.S.C. § 1983, plaintiffs likewise reserve the right
to seek compensatory, nominal and punitive damages under Count IV, in addition to the
declaratory and equitable relief sought in this motion. However, it is unnecessary for this Court ta
reach damages claims at this juncture. Since Bill 4-21 will not take effect until July 16, 2021!
declaratory and equitable relief on Counts I, II, and IV will bear directly on the amount and nature
of the damages available under Counts III and IV. If Bill 4-21 is enjoined prior to its effective date
or promptly thereafter, the amount of damages under these Counts will likely be lessened. Swifi
resolution of this motion thus serves the interests of plaintiffs and the County alike. Plaintiffs have
pled a jury and plaintiffs’ entitlement to damages under these claims are jury questions that can be
resolved at trial, should trial be necessary. As stated in Smith v. Wade, 461 U.S. 30, 56 (1983), “a
jury may be permitted to assess punitive damages in an action under § 1983 when the defendant’s
conduct is shown to be motivated by evil motive or intent, or when it involves reckless or callous

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indifference to the federally protected rights of others.” (Emphasis added). See also Beardsley v|
Webb, 30 F.3d 524, 531 (4th Cir. 1994) (same). The County has been recklessly and callously
indifferent to the Due Process rights of plaintiffs, including the constitutional right of plaintiffs td
parent their children. At the least, plaintiffs are entitled to nominal damages on a successful Section
1983 claim. Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021). Complaint § 66.

Finally, the availability and amount of attorney’s fees under 42 U.S.C. § 1988, are collatera
matters that likewise can be addressed at a later stage. See, e.g., Maher v. Gagne, 448 U.S. 122,
132 (1980) (an award of Section 1988 fees is permitted where “the plaintiff prevails on a wholly
statutory, non-civil-rights claim pendent to a substantial constitutional claim”); Osterweil v.
Bartlett, 92 F.Supp 3d 14, 23 (N.D.N.Y. 2015) (awarding Section 1988 fees even though the
plaintiff prevailed only on question of state statutory interpretation); Maryland Green Party v|
State Board of Elections, 165 Md.App. 113, 125-26, 884 A.2d 789 (2005) (awarding Section 1988
fees); Johnson v. Wright, 92 Md.App. 179, 181, 607 A.2d 103 (1992) (holding that fees ard
collateral). Given the potentially dispositive nature of the declaratory and equitable relief sought
under Counts I, I and IV, the Court should apply MD Rule 2-602 and hold that there is no just
reason for delay and enter final judgment granting declaratory and injunctive relief on Counts I, I}

and IV. See Waters v. U.S. Fidelity & Guar. Co. 328 Md. 700, 616 A.2d 884 (1992).

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CONCLUSION
For the foregoing reasons, the motion for partial summary judgment should be granted
Plaintiffs respectfully request an emergency hearing and a decision on this motion prior to July 16

2021, the effective date of Bill 4-21.

Respectfully submitted,

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CERTIFICATE OF SERVICE
I hereby certify that on June 16, 2021, the foregoing PLAINTIFFS’ EMERGENCY
MOTION FOR PARTIAL SUMMARY JUDGMENT — EXPEDITED HEARING
REQUESTED and MEMORANDUM IN SUPPORT of that motion, was served by hand on

defendant Montgomery County by delivering a copy of these filings by hand to:

Marc P. Hansen, Esq.
County Attorney,
Montgomery County, MD
101 Monroe Street, 3rd floor
Rockville, Maryland 20850

MARK W. PENNAK

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MD Atty No. 1905150005
Dated: June 16, 2021

 
